Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 1 of 85




         EXHIBIT A
                                                     FULLYPage
      Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18   SIGNED
                                                               2 ofAGREEMENT
                                                                   85



                                SETTLEM]!;NT AG~EMENT
        Plaintiffs Gregory Coffeng, Mark Glaser and Jordan Wilson ("Plaintiffs,,) and

Volkswagen Group of America, Inc. ('4VWGoN' or '~Defendant") (collectively, the "Parties"),

by and through their counsel, enter into this Settlement Agreement ("Settlement Agreement" or

"Agreement"), providing for settlement ('~Settlement'') of all claims that were asserted or that

could have been asserted in the Action described below, pursuant to the terms and conditions set

forth below, and subject to the approval of the Court in the Actj.on.

                                            RECITALS
        WHEREAS, Plaintiffs filed a putative class action against Defendant on March 31, 201?

entitled Gregory, Coffeng, et al. v. Volkswagen Group qfAmerica, Inc., Civil Action No. 3:17-cv-

01825 ..JD, in the United States District Court for the Northern District of California (hereinafter,

the "Action"), claiming a defect in the primary engine vv:ater pump in the Settlement Class

Vehicles;

        WHEREAS, Defendant denies Plaintiffs' allegations and claims, and Defendant

maintains, inter alia, that the Settlement Class Vehicles and their primary engine water pumps

are not defective, that no applicable warranties were breached, that no applicable statutes, laws,

rules ~r regulations were violated, that the Settlement Class Vehicles were properly designed,

manufactured, distributed, marketed, advertised, warranted and sold, and that Defendant bas not

engaged in any wrongdoing;

       WHEREAS, the Parties, following certain pretrial proceedings, discovery, investigation

and careful analysis of their respective claims and defenses, and with full understanding of the

risks, expense and uncertainty of continued litigation, desire to compromise and settle all issues

and claims that were or could have been brought in the Action by or on behalf of Plaintiffs and

members of the Settlement Class;
                                                  I
     Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 3 of 85



          WHE REAS> the Parties agree that neither this Settlement Agreement, nor the underlying

 settlement, shall constitute or be construed as any admission of liability or wrongdoing on the

 part of Defendant or any Released Party, which is expressly denied, or that the Plaintiffs' claims

 or similar claims are or would be suitable for class treatment ifthe Action proceeded through

 litigation and trial;

         WHEREAS, this Settlement Agreement is the result of arm •s length negotiations between

 the Parties, and is fair, adequate and reasonable;

         NOW, THEREFORE, in consideration of the mutual promises and agreements set forth

below, the Parties hereby agree as follows:

I.       DEFINITIONS
         A.      "Action" or "Lawsuit"

        ·"Action" or "Lawsuit" refers to Civil Action No. 3:17-cv-01825-JD, entitled Gregory

Coffeng et al. v. Volkswagen Group ofAmerica, Inc., pending in the United States District Court

for the Northern District of California.

        B.       "Claim Administrator••

        The "Claim Administrator" will be Epiq Global.

        C.       "Claim" or "Claim for Reimbursement"

        "Claim" or "Claim for Reimbursement" shall mean the timely submission of the required

form and proof in which a Settlement Class Member seeks to claim reimbursement available

under this Settlement Agreement.



        D.       "Claim Form"

        "Claim Form" refers to the form used to request reimbursement under this Agreement)

substantially in the form attached hereto as Exhibit 1.
                                                  2
      Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 4 of 85




            E.     "Class Counsel" or "Plaintiffs, Counsel"

            "Class Counsel'' or "Plaintiffs' Counsel" shall mean Gary S. 'Graifman, Thomas P.

 Sobran and Patrice L. Bishop.

            F.     "Class Notice Plan"

            "Class Notice Plan" means the plan for disseminating class notice to the Settlement Class

 as set forth in Section V of this Settlement Agreement and includes any further notice provisions

 agreed upon by the Parties.

            G.    "Court"

           "Court" refers to the United States District Court for the Northern District of California.

           H.      '.'Effective Date"

           "Effective Date" means the first date after (1) the Court enters a Final Order and

 Judgment approving the Settlement Agreement, substantially in the form attached hereto as

Exhibit 2, and (2) all appellate rights with respect to said Final Order and Judgment, other than

those related solely to any award of attorneys' fees, costs or incentive payments, have expired or

been exhausted in such a manner as to affirm the Final Order and Judgment.·

           I.     "Final Order and Judgment"
           The "Final Order and Judgment" means the Final Order and Judgment approving the

Settlement Agreement and dismissing the Action with prejudice as to Defendant.



           J.     "In-Serviee Date"
           "In-Service Date" shall mean the date on which a Settlement Class Vehicle was first.

delivered to either the original purchaser or the original lessee; or if the vehicle was first placed
                                                                                       ,,

in service as a "demonstrator" or "company" car, on the date such vehicle was first placed in

service.

                                                    3
      Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 5 of 85




        K.     "Lead Class Counsel" or "Lead Settlement Class Counsel"

        "Lead Class Counsel" or "Lead Settlement Class Counsel" are Gary S. Graifman and

 Thomas P. Sobran.

        L.     "Notice Date"

        "Notice Date" means the date by which Defendant shall mail notice of this Settlement to

the Settlement Class. The Notice Date shall be agreed upon by the Parties but in no event more

than seventy five (75) days after the Court enters a Preliminary Approval Order, substantially in

the form attached hereto as Exhibit 3.

        M.     "Proof of Adherence to the Vehicle's Maintenance Schedule"
        "Proof of Adherence to the Vehicle's Maintenance Schedule" shall mean (1) submission

of documents evidencing the Settlement Class Member's adherence to those aspects of the

Settlement Class Vehicle's maintenance schedule set forth in the Warranty and Maintenance

Booklet that are relevant to the function of the coolant system, including use of the specification

of coolant fluid recommended by VW and Audi, during the time he/she/it owned and/or leased

the vehicle up to the date/mileage of repair or replacement, within a variance often percent

(10%) of the scheduled time/mileage requirements; (2) In the event maintenance records cannot

be obtained despite a good faith effort to obtain them, the Settlement Class Member may submit

a Declaration under penalty of perjury detailing what efforts were made to obtain the records,

who he/she/it communicated with and when, why the records are not available and attesting to

adherence to the vehicle maintenance schedule, up to the date/mileage of replacement/repair,

within the ten percent (10%) variance set forth above. Disputes as to the sufficiency of

documentation verifying the primary engine water pump reimbursement claim, shall be

submitted to and resolved by the Claims Administrator agreed to by the parties. In the event the

Claims Administrator makes a preliminary determination that the proof submitted is insufficient,

                                                 4
     Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 6 of 85




 the Claims Administrator will send the Settlement Class Member a letter advising of the

 deficiencies. The Settlement Class Member will have thirty (30) days to cure the deficiencies or

the claim will be rejected, unless the Settlement Class Member requests attorney review within

fifteen (15) days after the Claims Administrator's mailing of the rejection letter and the rejection

letter citing such deficiencies will indicate that the Settlement Class Member may request such

attorney review. Upon such request, Lead Class Counsel and defense counsel will meet and

confer to resolve the disputed claims.

        N.      "Proof of Repair Expense"
        "Proof of Repair Expense" shall take the form of an original or legible copy of a repair

invoice containing claimant's name, the make, model and vehicle identification number (VIN) of

the Settlement Class Vehicle, the name and address of the authorized Audi or VW dealer or

independent servicing center that performed the repair, the date ofrepair, a description of the

repair work performed including the parts repaired/replaced and a breakdown of parts and labor

costs, the vehicle's mileage at the time of repair, and proof of the Settlement. Class Member's

payment of same. If reimbursement is sought for a damaged or failed engine due to a failure of

the primary engine water pump under the terms of this Settlement, the Proof of Repair Expense

must also show that the engine damage or failure that required repair/replacement was due to a

failure of the primaryengine water pump. In the event the Claims Administrator makes a

preliminary determination that the documentary proof submitted is insufficient, the Claims

Administrator will send the Settlement Class Member a letter advising of the deficiencies. The

Settlement Class Member will have thirty (30) days to cure the deficiencies or the claim will be

rejected, unless the Settlement Class Member requests attorney review within fifteen (15) days

after the Claims Administrator's mailing of the rejection letter and the rejection letter citing such

deficiencies will indicate that the Settlement Class Member may request such attorney review.
                                                  5
     Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 7 of 85




 Upon such request, Lead Class Counsel and defense counsel will meet and confer to resolve the

disputed claims.

        O.     "Released Claims" or "Settled Claims"

        "Released Claims" or "Settled Claims" means any and all claims. causes of action,

demands, debts, suits, liabilities, obligations, dam.ages, entitlements, losses, actions. rights of

action and remedies of any kind, nature and description, whether known or unknown, asserted or

unasserted, foreseen or unforeseen, regardless of any legal or equitable theory, existing now or

arising in the future, by Plaintiffs and any and all Settlement Class Members (including their

successors, heirs, assigns and representatives) which in any way relate to the primary engine

water pump of Settlement Class Vehicles, including, but not limited to all matters that were or

could have been asserted in the Action. and all claims, causes of action, demands, debts, suits,

liabilities, obligations, damages, entitlements, losses, actions, rights of action and remedies of

any kind, nature and description arising under any state, federal or local statute, law, rule and/or

regulation, under any consumer protection, consumer fraud, unfair business practices or

deceptive trade practices statutes or laws, under common law, and under any legal or equitable

theories whatsoever including tort, contract, products liability, negligence, fraud,

misrepresentation, concealment, consumer protection, restitution, quasi-contract, unjust

enrichment, express and/or implied warranty, Magnuson-Moss Warranty Act, Song-Beverly

Consumer Warranty Act, California Commercial Code, Uniform Commercial Code and any

federal, state or local derivations thereof, any Lemon Law, New York General Business Law

§349, et seq., secret warranty and/or any other theory of liability and/or recovery, whether in law

or in equity, and for any and all injuries, losses, damages, remedies, recoveries or entitlements of

any kind, nature and description, in law or in equity, under statutory and/or common law,

including, but not limited to, compensatory damages, economic losses or damages, exemplary
                                                   6
     Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 8 of 85




 damages, punitive damages, statutory damages, statutory penalties or rights, restitution, unjust

 enrichment, and any other legal or equitable relief. This release expressly exempts claims for

 personal injuries and property damage (other than damage to the Settlement Class Vehicle

 related to the primary engine water pump).

        P.      "Released Parties"
        "Released Parties" shall mean Volkswagen Group of America, Inc., Audi AG;

Volkswagen AG, Volkswagen Credit, Inc., Audi of America LLC, Volkswagen de Mexico S.A.

de C.V., all designers, manufacturers, assemblers, distributors, importers, retailers, marketers,

advertisers, testers, inspectors, sellers, suppliers, component suppliers, lessors, warrantors,

dealers, repairers and servicers of the Settlement Class Vehicles and each of their component

parts and systems, all.of their past and present directors, officers, shareholders, principals,

partners, employees, agents, servants, assigns and representatives, and all of the aforementioned

persons' and entities' attorneys, insurers, trustees, vendors, contractors, heirs, executors,

administrators, successor companies, parent companies, subsidiary companies, affiliated

companies, divisions, trustees and representatives.

        Q.     "Settlement Class" or "Settlement Class Members"
        "Settlement Class" or "Settlement Class Members" refers to: "All persons and entities

who purchased or leased a Settlement Class Vehicle, as defined in Section I (R) of this

Agreement, in the United States of America and Puerto Rico."

       Excluded from the Settlement Class are (a) anyone claiming personal injury, property

damage and/or subrogation; (b) all Judges who have presided over the Actions and their spouses;

(c) all current employees, officers, directors, agents and representatives of Defendant, and their

family members; (d) any affiliate, parent or subsidiary of Defendant and any entity in which

Defendant have a controlling interest; (e) anyone acting as a used car dealer;(£) anyone who
                                                  7
      Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 9 of 85




purchased a Settlement Class Vehicle for the purpose of commercial resale; (g) anyone who

purchased a Settlement Class Vehicle with salvaged title and/or any insurance company who

acquired a Settlement Class Vehicle as a result of a total loss; (h) any insurer of a Settlement

Class Vehicle; (i) issuers of extended vehicle warranties and service contracts; (j) any Settlement

Class Member who, prior to the date of this Agreement, settled with and released Defendant or

any Released Parties from any Released Claims, and (k) any Settlement Class Member that files

a timely and proper Request for Exclusion from the Settlement Class.

        R.     "Settlement Class Vehiclesn

        Settlement Class Vehicles means the model and model year VW and Audi vehicles

designated by V.IN on Exhibit 4, imported and distributed by Defendant Volkswagen Group of

America, Inc. for sale or lease in the United States and Puerto Rico.

Il.     SETTLEMENT CONSIDERATION
        1n consideration for the full and complete Release of all Released Claims against all

Released Parties, and the dismissal of the Action with prejudice, Defendant agrees to provide the

following consideration to the-Settlement Class:

        A.     W~rranty Extension for Current Owners or Lessees of Settlement Class
               Vehicles
        Effective on the Notice Date, Volkswagen Group of America, Inc. will extend its New

Vehicle Limited Warranties applicable to the Settlement Class Vehicles to cover primary engine

water pump repairs or replacement, by an authorized VW or Audi dealer, during a period of ten

(10) years or one hundred thousand (100,000) miles (whichever occurs :first) from the In-Service

Date of the Settlement Class Vehicle, provided that the Settlement Class member submits, to the

dealer, Proof of Adherence to the Vehicle's Maintenance Schedule, including if applicable, the

Declaration under penalty ofperjury required by Section I(M)(2) above (hereinafter, the

                                                   8
        Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 10 of 85




    "Extended Warranty"). The Extended Warranty will include the primary engine water pump and

    all parts and labor necessary to effectuate the repair.

            The Extended Warranty is subject to the same terms and conditions set forth in the

    Settlement Class Vehicle's New Vehicle Limited Warranty and Warranty Information Booklet,

    except that repairs under this subsection of the Agreement are permissible pursuant to the terms

    and time and mileage limitations herein. Damages resulting from abuse, alteration or

    modification, a collision or crash, vandalism and/or other impact shall be excluded and not

    covered by the Extended Warranty,

           The Extended Warranty will go into effect on the Notice Date. If the primary engine

    water pump fails more than twenty (20) days after the Notice Date and within ten (10) years or

    one hundred thousand (100,000) miles (whichever occurs first) from the In-Service Date of the

    Settlement Class Vehicle, the Settlement Class Member must take the vehicle to an authorized

    Audi or VW dealer for repair or replacement pursuant to the terms of the Extended Warranty.

•   There Will be no reimbursement under Section II.B. below for repairs or replacements performed

    more than twenty (20) days after the Notice Date, the remedy intended under that circumstance

    being that the Settlement Class Member bring the Settlement Class Vehicle to the VW/Audi

    dealer, which will make the covered repair or replacement under the Extended Warranty at

    VWGoA's expense.

           The warranty, as extended, is fully transferable to subsequent owners.

           B.      Reimbursement for Out-of-Pocket Expenses for Repair or Replacement of
                   the Primary Engine Water Pump Within 10 Years or 100,000 Miles
                   (Whichever Occurs First) from the Vehicle's In-Service Date and Prior to the
                   Notice Date.
           Settlement Class Members will be entitled to reimbursement for unreimbursed out-of-

    pocket expenses as follows:


                                                       9
     Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 11 of 85




        1.     Prima1y Engine Water Pump Repair/Replacement:
               a.     If the primary engine water pump was repaired or replaced at an

authorized Audi or VW dealer within eight (8) years or eighty thousand (80,000) miles

(whichever occurs first) from the In-Service Date of the Settlement Class Vehicle and prior to

twenty (20) days after the Notice Date, the Settlement Class Member shall receive a one-hundred

percent (100%) refund of the paid dealer invoice amount for the covered part(s) and labor,

limited to one repair or replacement per Settlement Class Vehicle.


               b.     If the repair or replacement of the primary engine water pump by an

-authorized Audi or VW dealer was made after eight (8) years or eighty thousand (80,000) miles

(whichever occurs first), but prior to ten (10) years or one hundred thousand (100,000) miles

(whichever occurs :first) from the In-Service Date of the Settlement Class Vehicle, and prior to

twenty (20) days after the Notice Date, the Settlement Class Member shall receive seventy

percent (70%) of the paid dealer invoice amount for the covered part(s) and labor, limited to one

repair or replacement per Settlement Class Vehicle.


               c.     However, notwithstanding Paragraph l(a) and (b) above, if the primary

engine water pump was repaired or replaced at an independent service center and not an

authorized Audi or VW dealer, the paid invoice amount, from which the Settlement Class

Member shall receive a refund for the covered parts and labor pursuant to the percentages in

Paragraphs l(a) and (b) above, shall be limited to a maximum of$950.00. Thus, for example, if

the amount of the repair invoice exceeds $950.00, the Settlement Class Member will receive a

reimbursement of one-hundred percent (100%) of $950.00 if Paragraph l(a) applies, or seventy

percent (70%) of $950.00 if paragraph l(b) applies.



                                                10
     Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 12 of 85




        2.     Limitations:

               a.      Any reimbursement shall be reduced by goodwill or other concession paid

by an authorized Audi or VW dealer or any other entity (including insurers and providers of

extended warranties or service contracts), up to no reimbursement if the Settlement Class

Member received free replacement or repair.


               b.      Defendant shall not be responsible for, and shall not warrant,

repair/replacement Work performed at an independent service center that is not an authorized

VW or Audi dealer. If the VW or Audi replacement covered part(s), purchased by the customer

or the independent service center from an authorized VW or Audi dealer, fails Within one (1)

year or twelve thousand (12,000) miles of installation (whichever occurs first), VWGoA shall

provide a free replacement of the covered part(s) only.


        3,     Required Proof:
        In order to obtain the benefits provided for in this section, the Settlement Class Member

must provide both (A) Proof of Repair Expense and (B) Proof of Adherence-to the Vehicle's

Maintenance Schedule.



        C.     Reimbursement for Out-of-Pocket Expenses to Repair or Replace Damaged
               or Failed Engine Due to Primary Engine Water Pump Failure, Within 10
               years or 100,000 miles (Whichever Occurs First) from the Vehicle's Jnw
               Service Date.
       Settlement Class Members will be entitled to reimbursement for unreimbursed out-of-

pocket expenses incurred to repair or replace a failed or damaged engine due to primary engine

water pump failure, within ten (10) years or one hundred thousand (100,000) miles (whichever

occurs first) from the In-Service Date of the Settlement Class Vehicle, as follows:


                                                11
     Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 13 of 85




        1.     If the Settlement Class Vehicle's engine was repaired or replaced at an authorized

Audi or VW dealer, and the engine damage that required the repair/replacement was due to

failure of the primary engine water pump, the Settlement Class Member may receive a refund of

the paid invoice amount subject to the time/mileage parameters in Table 1, below.

        2.     However, notwithstanding Paragraph 1 above, if the Settlement Class Vehicles

engine was repaired or replaced at an independent service center and not an authorized Audi or

VW dealer, the maximum reimbursement amount is $4,000.00, subject to the time/mileage

parameters in Table 1, below.


   TABLE 1: PERCENTAGES OF REIMBURSEMENT FOR OUT~OF~POCKET
 EXPENS~S INCURRED FOR DAMAGED OR FAILED ENGINE DUE TO PRIMARY
                   ENGINE WATER PUMP FAILURE

Time from In- Less than          50,001 to        60,001"          70,00lw          80,001 to
Service Date 50,000 miles        60,000 miles     70,000 miles     80,000 miles     100,000 miles
4 years       100%(under         70%              50%              40%              25%
              original
              warranty)
4~5 years"    70%                 50%             40%              30%              20%
                                                             .
5w6 years       50%              40%              35%              25%              15%

6w7 years       40%              30%              25%              20%              10%

7w8 years       30%              25%              20%              15%              10%

8-10 years      25%              20%                 15%           10%              5%



  * For VW Settlement Class Vehicles in which the New Vehicle Limited Warranty period is S
years or 60,000 miles (whichever occurs first) from the In-Service Date, the reimbursement
percentage shall be one hundred percent (100%) for unreimbursed out-of-pocket expenses
incurred within the said 5 years or 60,000 miles (whichever occurs first) warranty period, but not
exceeding the maximum reimbursement amount of $4,000.00 if the repair/replacement was


                                                12
       Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 14 of 85




    performed by an independent service center and not an authorized VW dealer (Paragraph 2
    above).


                    3.     Limitations:

            a.   Any reimbursement pursuant to this Settlement Agreement shall be reduced by

goodwill or other concession paid by an authorized Audi or VW Dealer or any other entity

(including insurers and providers of extended warranties or service contracts), up to no

reimbursement if the Settlement Class Member received free replacement or repair.


            b.   Defendant shall only pay for labor and parts for one initial repair or replacement by

an independent service center that is not an authorized Audi or VW dealer. Defendant shall not be

responsible for, and shall not warrant repair or replacement work performed at an independent

service center that is not an authorized Audi or VW dealer.


            c.   Any replacement engine shall be subject to the warranty terms and conditions

accompanying that replacement engine. Nothing in this Settlement Agreement modifies that

warranty.


                   4.      Required Proof:

            In order to obtain the benefits provided for in this Section, the Settlement Class Member

must provide both (A) Proof of Repair Bxpense and (B) Proof of Adherence to the Vehicle's

Maintenance Schedule.




                                                    13
       Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 15 of 85




III.     The followjng proof must be submitted, and condltlens satisfied, in order for a
         Settlement Class Member to be eligible for a reimbursement under Sections Il.B.
         and II.C. of this Agreement:
                        A.     The Claim is mailed to the Claim Administrator, post-marked no

later than one hundred fifty (150) days after the Notice Date;

                        B.      The Claim contains a properly completed and executed Claim

Form;

                        C.      If the claimant is not a person to whom the Claim Form was

addressed, and/or the vehicle with respect to which a Claim is made is not the vehicle identified

by VIN number on themailed Claim Form, the Claim contains proof that the claimant is a

Settlement Class Member and that the vehicle is a Settlement Class Vehicle;

                        D.      The Claim contains the proper Proof of Repair Expense and Proof

of Adherence to the Vehicle's Maintenance Schedule demonstrating the Settlement Class

Member's right to reimbursement under the terms of this Settlement Agreement; and

                        E.      The Settlement Class Member has not previously been reimbursed

for his/her/its expenses as 1s provided by the Settlement.

                        F.      The Claim Administrator's denial of any Claim shall be binding

and non-appealable, except that Lead Class Counsel and Defendant's counsel may confer and

attempt to resolve any disputed denial by the Claim Administrator.

IV.      CLAIMS ADMINISTRATION

         A.     Costs of Administration and Notice
         Defendant shall be responsible for the costs of class notice and settlement administration.

The Parties retain the right to audit and review the claims handling by the Claim Administrator,

and the Claim Administrator shall report to both parties jointly.


                                                  14
     Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 16 of 85




        B.     Administration

               l,      For each approved reimbursement claim, the Claim Administrator, on

behalf of Defendant, shall mail to the Settlement Class Member, at the address listed on the

Claim Form, a reimbursement check to be sent within seventy-five (75) days of the date of

receipt of the Claim, or within seventy-five (75) days of the Effective Date, whichever is later.



V.      NOTICE

               a.      To Attorney General: In compliance with the Attorney General

notification provision of the Class Action Fairness Act, 28 U.S.C. § 1715, the Claim

Administrator shall provide notice of this proposed Settlement to the Attorney General of the

United States, and the Attorneys General of each state in which a known Settlement Class

Member resides.

               b.      To The Settlement Class: The Claim Administrator shall be responsible

for the following Settlement Class Notice Plan:

               1.      On an agreed upon date with the qaim Administrator, but in no event

more than seventy five (75) days after entry of the Preliminary Approval Order, the Claim

Administrator shall cause individual Class Notice, substantially in the form attached hereto as

Exhibit 5, together with the Claim Form, substantially in the form attached hereto as Exhibit 1, to

be mailed, by first class mail, to the current or last known addresses of all reasonably identifiable

Settlement Class Members. Defendant may format the Class Notice in such a way as to

minimize the cost of the mailing, so long as Settlement Class Members can reasonably read it

and Lead Class Counsel approves all changes and formatting. The Claim Administrator shall be

responsible for dissemination of the Class Notice.


                                                  15
    Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 17 of 85




               2.        For purposes of identifying Settlement Class Members, the Claim

Administrator shall obtain from IHS Markit the names and current or last known addresses of

Settlement Class Vehicle owners and lessees that can reasonably be obtained, and the VINs of

Settlement Class Vehicles.

               3.        Prior to mailing the Class Notice, an address search through the United

States Postal Service's National Change of Address database will be conducted to update the

address information for Settlement Class Vehicle owners and lessees. For each individual Class

Notice that is returned as undeliverable, the Claim Administrator shall re-mail all Class Notices

where a forwarding address has been provided. For the remaining undeliverable notice packets

where no forwarding address is provided, the Claim Administrator shall perform an advanced

address search (e.g, a skip trace) and re-mail any undeliverable to the extent any new and current

addresses are located.

               4.        The Claim Administrator shall diligently, and/or as reasonably requested

by Lead Class Counsel or Defendant's counsel, report to Lead Class Counsel and Defendant's

counsel the number of individual Class Notices originally. mailed to Settlement Class Members,

the number of individual Class Notices initiallyreturned as undeliverable, the number of

additional individual Class Notices mailed after receipt of a forwarding address, and the number

of those additional individual Class Notices returned as undeliverable.

               5.        The Claim Administrator shall, upon, request, provide Lead Class Counsel

and Defendant's counsel with the names and addresses of all Settlement Class Members to

whom the Claim Administrator sent a Class Notice pursuant to this section.

               6.        The Claim Administrator shall implement a Settlement website containing

                         (i)    instructions on how to submit a Claim for reimbursement either by
                                mail or online submission;

                                                  16.
      Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 18 of 85




                          (ii)    instructions on how to contact the Claim Administrator,
                                  Defendant's Counsel and Lead Class Counsel for assistance;

                          {iii)   A portal for Settlement Class Members to insert the VIN number
                                  of their Class Vehicle to confirm it is a Settlement Class Vehicle;

                          (iv)    a copy of the Claim Form, Class Notice and this Settlement
                                  Agreement..and

                          (v)     any other relevant information agreed upon by counsel for the
                                  Parties.

                7.        No later than ten (10) days after the Notice Date, the Claim Administrator
 shall provide an affidavit to Lead Class Counsel and Defendant's counsel, attesting that the Class

Notice was disseminated in a manner consistent with the terms of this Agreement or those

required by the .Court,

                8.        To Authorized VW and Audi Dealers: Prior to the Notice Date. Defendant

will advise each of its VW and Audi Dealers of the basic terms of the Settlement Agreement

relating to the Extended Warranty, so that authorized dealers may effectively communicate with

Settlement Class Members and repair eligible Settlement Class Vehicles pursuant to the terms of

the Extended Warranty. Defendant's counsel will advise Class Counsel that VW and Audi

dealers were provided such notification.




VI.     RESPONSE TO NOTICE

       A.      Objection to Settlement

       Any Settlement Class Member who intends to object to the fairness of this Settlement

Agreement must> ·by the date specified in the Preliminary Approval Order and recited in the

Class Notice, file any such objection via the Court's electronic filing system, and if not filed via

the Court' s electronic system, must mail the objection to the Court, and serve by first-class mail

                                                   17
     Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 19 of 85




copies of the objection upon: Gary S. Graifman, Kantrowitz, Goldhamer & Graifman, P .C., 74 7

Chestnut Ridge Road, Chestnut Ridge, New York 10977 o:h behalf of Class Counsel, and

Michael B. Gallub, Herzfeld & Rubin, P.C., 125 Broad Street, New York, New York 10004 on

behalf of Defendant, and the Claim Administrator, Epiq Global, 777 Third Avenue, 12 th Floor,

New York, NY 10017,

        Any objecting Settlement Class Member must include with his or her or its objection:

                1.        the objector's full name, address, and telephone number,

                2.        the model, model year and Vehicle Identification Number of the

Settlement Class Vehicle, along with proof that the objector has owned or leased the Settlement

Class Vehicle (i,e., a true copy of a vehicle title, registration, or license receipt);

                3.        a written statement of all grounds for the objection accompanied by any

legal support for such objection; and

                4.        copies of any papers, briefs, or other documents upon which the objection

is based and are pertinent to the objection;

                5,        In addition, any Settlement Class Member objecting to the Settlement

shall provide a list of all other objections submitted by the objector, or the objector's counsel, to

any class action settlements submitted in any court in the United States in the previous five

years, including the full case name with jurisdiction in which it was filed and the docket number,

If the Settlement Class Member or his, her or its counsel has not objected to any other class

action settlement in the United States in the previous five years, he/she/it shall affirmatively so

state in the objection.

                6.        Moreover, subject to the approval of the Court, any objecting Settlement

Class Member may appear, in person by counsel, at the final fairness hearing to explain why the



                                                    18
      Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 20 of 85




proposed Settlement should not be approved as fair, reasonable, and adequate, or to object to any

motion for Class Counsel Fees and Expenses or incentive awards. The objecting Settlement

Class Member.must file with the Clerk of the Court and serve upon all counsel designated in the

Notice a notice of intention to appear at the fairness hearing by the objection deadline. The

notice of intention to appear must include copies of any papers, exhibits, or other evidence and

identity of witnesses that the objecting Settlement Class Member (or the objecting Settlement

Class Member's counsel) will present to the Court in connection with the fairness hearing. Any

Settlement Class Member who does not provide a notice of intention to appear in accordance

with the deadlines and other specifications set forth in the Notice, or who has not filed an

objection in accordance with the deadlines and other specifications set forth in the Settlement

Agreement and the Notice, may be deemed to have waived any objections to the settlement and

any adjudication or review of the Settlement, by appeal or otherwise.

        B.     Request for Exclusion from the Settlement

        Any Settlement Class Member who wishes to be excluded from the Settlement Class

must submit a request for exclusion ("Request for Exclusion") to the Claim Administrator at the

address specified in the Class Notice by the date specified in the Preliminary Approval Order and

recited in the Class Notice. To be effective, the Request for Exclusion must be sent to the

specified address and:

               1.        include the Settlement Class Member's full name, address ~d telephone

number;

               2.        identify the model, model year and VIN of the Settlement Class Vehicle;

and

               3.        specifically and unambiguously state his, her or its desire to be excluded

from the Settlement Class.
                                                   19
     Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 21 of 85




                4.     Any request or exclusion must be postmarked on or before the deadline set

by the Court, which date shall be approximately forty-five (45) days after the date of the mailing

of Notice to Settlement Class Members. Any Settlement Class Member who fails to submit a

timely and complete Request for Exclusion sent to the proper address, shall be subject to and

bound by this Settlement Agreement, the Release and every order or judgment entered relating to

this Settlement Agreement.

                5.     The Claim Administrator will receive purported Requests for Exclusion

and will follow guidelines developed jointly by Lead Class Counsel and the Defendant's counsel

for determining whether they meet the requirements of a Request for Exclusion. Any

communications from Settlement Class Members (whether styled as an exclusion request, an

objection or a comment) as to which it is not readily apparent whether the Settlement Class

Member meant to exclude himself or herself from the Settlement Class will be evaluated jointly

by counsel for the Parties, who will make a good faith evaluation, if possible. Any uncertainties

about whether a Settlement Class Member is requesting exclusion from the Settlement Class will

be submitted to the Court for resolution. The Claim Administrator will maintain a database of all

Requests for Exclusion, and will send the original written communications memorializing those

Requests for Exclusion to Lead Class Counsel and Defendant's counsel. The Claim

Administrator shall report the names and addresses of all such persons and entities requesting

exclusion to the Court, Lead Class Counsel and Defendant' s Counsel within eighteen (18) days

prior to the Final Hearing, and the list of persons and entities deemed by the Court to have

excluded themselves from the Settlement Class will be attached as an exhibit to the Final Order

and Judgment.




                                                20
    Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 22 of 85




VII.    WITHDRAWAL FROM SETTLEME NT

        A.     Plaintiffs or Defendant shall have the option to withdraw from this
               Settlement Agreement, and to render it null and void, if any of the following
               occurs:

        1.     Any objection to the proposed Settlement is sustained and such objection results

in changes to this Agreement that the withdrawing party deems in good faith to be material (e.g.,

because it substantially increases the costs of the Settlement, or deprives the withdrawing party

of a material benefit of the Settlement; a mere delay of the approval and/or implementation of the

Settlement includinga delay due to an appeal procedure, if any, shall not be deemed material);

        2.     The preliminary or final approval of this Settlement Agreement is not obtained

without modification, and any modification required by the Court for approval is not agreed to

by both parties, and the withdrawing party deems any required modification in good faith to be

material (e.g., because it increases the cost of the Settlement, or deprives the withdrawing party

of a benefit of the Settlement; a mere delay of the approval and/or implementation of the

Settlement including a delay due to an appeal procedure, if any, shall not be deemed material);

       3.      Entry ofthe Final Order and Judgment described in this Agreement is vacated by

the Court or reversed or substantially modified by an appellate court, except that a reversal or

modification of an order awarding reasonable attorneys' fees and costs and expenses, if any, shall

not be a basis for withdrawal; or

       4.     "The Defendant shall, in addition, have the option to withdraw from this

Settlement Agreement, and to render it null and void, if more than ten percent (10%) of the

persons and entities identified as being members of the Settlement Class exclude themselves

from the Settlement Class.

       5.      To withdraw from this Settlement Agreement under this paragraph, the

withdrawing party must provide written notice to the other party's counsel and to the Court
                                                 21
    Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 23 of 85




within ten (10) business days of receipt of any order or notice of the Court modifying, adding or

altering any of the material terms or conditions of this Agreement. In the event either party

withdraws from the Settlement, this Settlement Agreement shall be null and void, shall have no

further force and effect with respect to any party in the Action, and shall not be offered in

evidence or used in the Action or any other litigation for any purpose, including the existence,

certification or maintenance of any purported class. In the event of such withdrawal, this

Settlement Agreement and all negotiations, proceedings, documents prepared and statements

made in connection herewith shall be inadmissible as evidence and without prejudice to the

Defendant and Plaintiffs, and shall not be deemed or construed to be an admission or confession

by any party of any fact, matter or proposition oflaw, and shall not be used in any manner for

any purpose, and al.l parties to the Action shal.l stand in the same position as if this Settlement

Agreement had not been negotiated, made or filed with the Court. Upon withdrawal, either party

may elect to move the Court to vacate any and all orders entered pursuant to the provisions of

this Settlement Agreement.

       6.      A change in law, or change of interpretation of present law, that affects this

Settlement shall not be grounds for withdrawal from the Settlement.


vm.    ADMINISTRATIVE OBLIGATIONS
       A.      In connection with the administration of the Settlement, the Claim Administrator

shall maintain a record of all contacts from Settlement Class Members regarding the Settlement,

any claims submitted pursuant to the Settlement and any responses thereto. The Claim

Administrator, on a monthly basis, shall provide to Lead Class Counsel and Defendant's counsel

summary information concerning the number of claims made, number of claims validated,

number of returned claims for incompleteness, and total dollar amount of payouts on claims

                                                  22
      Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 24 of 85




made, the number of claims rejected and the total dollar amount of claims rejected, such that

Lead Class Counsel and Defendant's counsel may inspect and monitor the claims process.

        B.     Except as otherwise stated in this Agreement, all expenses incurred in

administering this Settlement Agreement, including, without limitation, the cost of the Class

Notice, and the cost of distributing and administering the benefits of the Settlement Agreement,

shall be paid by Defendant. Defendant shall provide information as to how many Settlement

Class Vehicles have been repaired under the Extended Warranty. Such information shall be

provided once, on or before December 31, 2020.

IX.     SETTLEMENT APPROVAL PROCESS
        A.     Preliminary Approval of Settlement

        Promptly after the execution of this Settlement Agreement, Lead Class Counsel shall

present this Settlement Agreement to the Court, along with a motion requesting that the Court

issue a Preliminary Approval Order substantially in the form attached as Exhibit 3.

       B.      Final Approval of Settlement
        1.     If this Settlement Agreement is prellminarily approved by the Court, Lead Class

Counsel shall present a motion requesting that the Court issue a Final Order and Judgment

directing the entry of judgment pursuant to Fed. R. Civ. P. 54(b) substantially in the form

attached as Exhibit 2.

       2.      The Parties agree to fully cooperate with each other to accomplish the terms of

this Settlement Agreement, including but not limited to, execution of such documents and to take

such other action as may reasonably be necessary to implement the terms of this Settlement

Agreement. The Parties shall use their best efforts, including all efforts contemplated by this

Settlement Agreement and any other efforts that may become necessary by order of the Court, or


                                                23
    Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 25 of 85




otherwise, to effectuate this Settlement Agreement and the terms set forth herein. Such best

efforts shall include taking all reasonable steps to secure entry of a Final Order and Judgment, as

well as supporting the Settlement and the terms of this Settlement Agreement through any

appeal.

          C.   Plaintiffs' Application for Attorney Fees and Incentive Awards
          1.   The Parties will attempt to reach agreement on reasonable attorneys' fees and

expenses ("Class Counsel Fees and Expenses") for which Class Counsel may apply to the Court.

If the Parties are unable to reach agreement, Class Counsel will make an application for

reasonable Class Counsel Fees and Expenses to the Court, to which Defendant may respond as it

deems appropriate. The Court's award of reasonable Class Counsel Fees and expenses, if any,

shall be subject to rights of appeal by any of the Parties.

          2.   Plaintiffs believe that Defendant should pay service awards to the individual

named Plaintiffs in the Action, each of whom have served as putative class representative in the

Action. Upon finalization of this Settlement Agreement, the Parties have agreed that Defendant

will not oppose Plaintiffs' request, made as part of the Fe~ and Expense Application, that

Defendant pay service awards of $2,500.00 to each of the following named Plaintiffs who has

served as putative class representative in the Action: Gregory Coffeng, Mark Glaser and Jordan

Wilson ("Settlement Class representatives").

          3.   The Class Counsel Fees and Expenses and Settlement Class representative service

awards shall be paid as directed by the Court by wire transfer, check or other mutually agreeable

fashion to Kantrowitz, Goldhamer & Graifman, P.C. and Thomas P. Sobran within thirty (30)

days after entry of the Final Order and Judgment for attorney fees, expenses, and service awards,

including final termination or disposition of any appeals relating thereto. Said payments shall

fully satisfy and discharge all obligations of Defendant and the Released Parties with respect to
                                                  24
    Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 26 of 85




payment of the Class Counsel Fees and Expenses and Settlement Class representative service

awards.

          4.    The procedure for and the grant or denial or allowance or disallowance by the

Court of the Fee and Expense Application are not part of the Settlement, and are to be considered

by the Court separately from the Court's consideration of the fairness, reasonableness and

adequacy of the Settlement. Any order or proceedings relating solely to the Fee and Expense

Application, or any appeal from any order related thereto or reversal or modification thereof, will

not operate to terminate or cancel this Agreement, or affect or delay the Effective Date of this

Agreement. Payment of Class Counsel Fees and Expenses and the Settlement Class

representatives-service awards will not reduce the benefit being made available to the

Settlement Class Members, and the Settlement Class Members will not be required to pay any

portion of the settlement class representatives' service awards or attorneys' fees and expenses.

        D.     Release of Plaintiffs' and Settlement Class Members' Claims

          1.   Upon the Effective Date, the Plaintiffs and each Settlement Class Member shall

be deemed to have, and by operation of the Final Order and Judgment shall have, fully,

completely and forever released, acquitted and discharged the Released Parties from all Released

Claims.

       2.      Upon the Effective Date, with respect to the Released Claims, the Plaintiffs and

Settlement Class Members expressly waive and relinquish, to the fullest extent permitted by law,

the provisions, rights, andbenefits of§ 1542 of the California Civil Code, which provides: 11A

general release does not extend to claims which the creditor does not know or suspect to exist in

his favor at the time of executing the release, which if known by him must have materially

affected his settlement with the debtor."

       3.      Upon the Effective Date, the Action will be deemed dismissed with prejudice.
                                                25
     Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 27 of 85




X.      MISCELLANE OUS         PROVISIONS
        A.     Effect of Exhibits

        The exhibits to this Agreement are an integral part of the Settlement and are expressly

incorporated and made a part of this Agreement.

        B.     No Admission    of Liability
        Neither the fact of, nor any provision contained in this Agreement, nor any action taken

hereunder, shall constitute, or be construed as, any admission of the validity of any claim or any

fact alleged in the Action or of any wrongdoing, fault, violation of law or liability of any kind on

the part of Defendant and the Released Parties, or any admissions by Defendant and the Released

Parties of any claim or allegation made in any action or proceeding against them. The Parties

understand and agree that neither this Agreement, nor the negotiations that preceded it, shall be

offered or be admissible in evidence against Defendant, the Released Parties, the Plaintiffs or the

Settlement Class Members, or cited or referred to in the Action or any action or proceeding,

except in an action or proceeding brought to enforce the te~s of this Agreement.

        C.     Entire Agreement

       This Agreement represents the entire agreement and understanding among the Parties and

supersedes all prior proposals, negotiations, agreements and understandings relating to the

subject matter of this Agreement. The Parties acknowledge, stipulate and agree that no

covenant, obligation, condition, representation, warranty, inducement, negotiation or

understanding concerning any part or all of the subject matter of this Agreement has been made

or relied on except as expressly set forth in this Agreement. No modification or waiver of any

provisions of this Agreement shall in any event be effective unless the same shall be in writing

and signed by the person·or party against whom enforcement of the Agreement is sought.


                                                26
     Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 28 of 85




        D.      Arm's-Length Negotiations and Good Faith

        The Parties have negotiated all of the terms and conditions of this Agreement at arm's

length. All terms, conditions and exhibits in their exact form are material and necessary to this

Agreement and have been relied upon by the parties in entering into this Agreement.

        E.      Continuing Jurisdiction

        The Parties agree that the Court may retain continuing and exclusive jurisdiction over

them, including all Settlement Class Members, for the purpose of the administration and

enforcement of this Agreement.

        F.      Binding Effect of Settlement Agreement

        This Agreement shall be binding upon and inure to the .benefit of the Parties and their

representatives, attorneys, heirs, successors and assigns.

        G.     Extensions of Time
        The Parties may agree upon a reasonable extension of time for deadlines and dates

reflected in this Agreement, without further notice (subject to Court approval as to Court dates).

       H.      Service of Notice

        Whenever, under the terms of this Agreement, a person is required to provide service or

written notice to Defendant's counsel or Class Counsel, such service or notice shall be directed

to the individuals and addresses specified below, unless those individuals or their successors give

notice to the other parties in writing, of a successor individual or address:

        As to Plaintiffs:           Gary S. Graifman
                                     Kantrowitz, Goldhamer
                                    & Graifman, P .C.
                                    747 Chestnut Ridge Road
                                    Chestnut Ridge, NY 10977




                                                 27
    Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 29 of 85




         As to Defendant:            Michael B. Gallub, Esq.
                                     Herzfeld & Rubin, P.C.
                                     125 Broad Street
                                     New York, NY 10004


        I.      Authority to Execute Settlement Agreement

        Each counsel or other person executing this Agreement or any of its exhibits on behalf of

any party hereto warrants that such person has the authority to do so.

        J.      Discovery

        Defendant will cooperate and participate in reasonable confirmatory discovery, to the

extent reasonably deemed necessary by Plaintiffs and agreed by the Parties.

        K.      Return of Confidential Materials

        All documents and information. designated as "confidential" and produced or exchanged

in the Action, shall be returned or destroyed in accordance with the terms of the Confidentiality

Stipulation and Order entered in the Action dated March 26. 2018.

       L.      No Assignment

        The Parties represent and warrant that they have not assigned or transferred, or purported

to assign or transfer, to any person or entity; any claim or any portion thereof or interest therein,

including, but not limited to, any interest in the litigation or any related action.

       M.      No Third-Party Beneficiaries

       This Agreement shall not be construed to create rights in, or to grant remedies to, or

delegate any duty, obligation or undertaking established herein to any third party (other than

Settlement Class Members themselves) as a beneficiary of this Agreement.

       N.      Construction

       The determination of the terms and conditions of this Agreement has been by mutual

agreement of the Parties. Each Party participated jointly in the drafting of this Agreement and,

                                                   28
 Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 30 of 85




therefore, the terms and conditions of this Agreement are not intended to be, and shall not be,

construed against any Party by virtue of draftsmariship.

       O.      Captions
       The captions or headings of the sections and paragraphs of this Agreement have been

inserted for convenience of reference only and shall have no effect upon the conslruction or

interpretation of any part of this Agreement.

       IN WITNESS HEREOF, the patties have caused this Agreement to be executed, by their

duly authorized attorneys, as of the date(s) indicated on the lines below.



ON BEHALF OF PLAINTIFFS:


Dated: August ~ti? 2018
                                                                  ..Graifm
                                                            KANTROWITZ, GOLDBAMER
                                                            & GRAIFMAN , P.C.
                                                            747 Chestnut Ridge Road
                                                            Chestnut Ridge, NY l 0977



Dated: August2"' 2018
                                                           .·~_cL
                                                            Thomas P. Sobran
                                                            fflOMAS P. SOBRAN, P.C.
                                                            7 Evergreen Lane
                                                            Hingham, MA 02043



Dated: August_2018                                          Patrice Bishop
                                                            STULL STULL & BRODY
                                                            9430 W. Olympic Boulevard, Suite 400
                                                            Beverly Hills, California 90212




                                                 29
         Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 31 of 85
J:




     therefore, the terms and conditions of this Agreement are not intended t~ be, and shall not be,

     construed against any Party by virtue of draftsmanship.

             O.     Captions

             The captions or headings of the sections and paragraphs of this Agreement have been

     inserted for convenience of referenc~ only and shall have no effect upon) the construction or

     interpretation of any part of this Agreement.

            IN WITNESS HEREOF, the parties have. ca\l$edt1'ts A.gi;~~m~~1tlJQ,\'~e e"l!:eC\lte4, by tht#

     duly authorized attorneys, as of the date(s) indicated on the lines below.



     ON BEHALF      OF PLAINTIFFS:

     Dated: August 6t'1 2018
                                                               ~~
                                                                 KA'.NTR()Wi'fi, GOLDIIAMER
                                                                 & GR!\lF~, r.c.
                                                                 747 ChestnutRidgeRoad
                                                                 Chestnut Riq~el NY 10977



     Dated: August_2018                                          Thomas P .. Sobran
                                                                 THOMAS P·.1$():t3Jl,4.N,J?.<;J.
                                                                 7 Evergreen ijan~l
                                                                 Hi1.igbani1 M'A, 02043


     Dated: August ..~ 2018
                                                                 STULL ST L & BRODY
                                                                 9430 W. plyi*pic J3oulevard, Suite 400
                                                                 Beverly Eitls,fCllJifornia 90.212




                                                      29
    Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 32 of 85




              QTf!
Dated: August_{_ 2018



Dated: August _ 2018                   Mark Glaser - Plaintiff




Dated: August __ 2018                  Jordan Wilson - Plaintiff




ON BEHALF OF DEFENDANT:



Dated: August__k_ 2018
                                       :Micli     , Gallub
                                       HERZFELD & RUBIN, P.C.
                                       125 Broad Street
                                       New York> New York 10004




                                30
     Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 33 of 85




Dated: August_ 2018                      Gregory Coffeng Plaintiff
                                                            H




Dated: August   ....13_   2018           Mark Glaser - Plaintiff




Dated: August_ 2018                      Jordan Wilson Plaintiff
                                                        H




ON BEHALF OF DEFENDANT:




Dated: August_£_ 2018
                                         Mien     . Gallub
                                         HERZFELD & RUBIN, P.C.
                                         125 Broad Street
                                         New York, New York 10004




                                 30
     Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 34 of 85




 Dated: August_ 2018                     Gr egory Coffeng - Plaintiff



 Dated: August _ 2018




Dated: August_ 2018




ON BEHAL F OF DEFENDANT:




Dated: August_£_ 2018
                                        aMicfi
                                                    rrdlf&':'~:A,··,-,:;-:;-:-«::;,,..,.,.,

                                                  . Gallub
                                         HERZFELD & RUBIN, P.C.
                                         125 Broad Street
                                                                                              =n::




                                         New York, New York 10004




                                 30
Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 35 of 85




         EXHIBIT 1
Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 36 of 85




                  CLAIM FORM:

     VW SETTLEMENT VEHICLES
           Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 37 of 85


                             VW WATER PUMP CLAIM FORM

Visit the website at www.waterpumpsettlement.com where you can complete a
claim form and submit supporting documents online, otherwise:


FOUR STEPS FOR SUBMITTING A CLAIM:
(1)       Verify Your Contact Information:
If your contact information is incorrect, please correct it on the right:
                                                         Name:
                                                         Address:


                                                          City
                                                         State                    Zip-code
                                                          Telephone number    (      )
                                                                             -------------
                                                          Vehicle ID Number (VIN):    _


(2)       Provide a repair receipt or other paperwork (original or copies):
If you paid for repairs by an authorized VW dealer or independent repair facility, your documentation
must show:

      • The date and vehicle mileage at the time of the repair;
      • The name, address, and telephone number of the facility that performed the repair;
      • The year, make, model, and Vehicle Identification Number (VIN) of your vehicle;
      • Proof of ownership or lease of the vehicle;
      • A description of the repair work performed including the parts repaired or replaced (engine
            water pump) and the cost ofrepair (parts and labor). If reimbursement is sought for a
             damaged or failed engine due to a primary engine water pump failure, your documents must
            also reflect that the engine damage or failure that required repair/replacement was due to a
             failure of the primary engine water pump.
      • Proof of payment including the amount paid for repair (parts and labor) and the date and manner
             of payment; and
      • Documents evidencing your adherence to the relevant aspects of the vehicle's maintenance
            schedule for the coolant system during the time you owned or leased the vehicle, up to the
            date/mileage of repair or replacement, within a variance of ten percent (10%) of the
            scheduled time/mileage requirements. In the event maintenance records cannot be obtained
            despite a good faith effort to obtain them, you may submit a Declaration under penalty of
            perjury detailing what efforts you made to obtain the records, who you communicated with
            and when, why the records are not available and attesting to adherence to the vehicle
            maintenance schedule, up to the date/mileage of replacement/repair, within the variance set
            forth'above,


(3)       Sign & Date:
       Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 38 of 85



       Signature                                           Date


(4) Mail Claim Form and Paperwork so that it is postmarked by
___________ to:

                                            Settlement Administrator
                                                  Epiq Global
                                          777 Third Avenue, 12th Floor
                                          New York, New York 10017

       For more information please view the Class Notice, call the Claims Administrator at   _
                                      or visit www.waterpumpsettlement.com
Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 39 of 85




                  CLAIM FORM:

   AUDI SETTLEMENT VEHICLES
           Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 40 of 85


                            AUDI WATER PUMP CLAIM FORM

Visit the website at www.waterpumpsettlement.com where you can complete a
claim form and submit supporting documents online, otherwise:


FOUR STEPS FOR SUBMITTING A CLAIM:
(1)       Verify Your Contact Information:
If your contact information is incorrect, please correct it on the right:
                                                         Name:
                                                         Address:


                                                          City
                                                         State                   Zip-code
                                                          Telephone number   (      )
                                                                             -------------
                                                          Vehicle ID Number (VIN):    _


(2)       Provide a repair receipt or other paperwork (original or copies):
If you paid for repairs by an authorized Audi dealer or independent repair facility, your documentation
must show:

      • The date and vehicle mileage at the time of the repair;
      • The name, address, and telephone number of the facility that performed the repair;
      • The year, make, model, and Vehicle Identification Number (VIN) of your vehicle;
      • Proof ~f ownership or lease of the vehicle;
      • A description of the repair work performed including the parts repaired or replaced (engine
            water pump) and the cost of repair (parts and labor). If reimbursement is sought for a
            damaged or failed engine due to a primary engine water pump failure, your documents must
            also reflect that the engine damage or failure that required repair/replacement was due to a
            failure of the primary engine water pump.
      • Proof of payment including the amount paid for repair (parts and labor) and the date and manner
            of payment; and
      • Documents evidencing your adherence to the relevant aspects of the vehicle's maintenance
            schedule for the coolant system during the time you owned or leased the vehicle, up to the
            date/mileage of repair or replacement, within a variance of ten percent (10%) of the
            scheduled time/mileage requirements. In the event maintenance records cannot be obtained
            despite a good faith effort to obtain them, you may submit a Declaration under penalty of
            perjury detailing what efforts you made to obtain the records, who you communicated with
            and when, why the records are not available and attesting to adherence to the vehicle
            maintenance schedule, up to the date/mileage of replacement/repair, within the variance set
            forth above.


(3)       Sign & Date:
       Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 41 of 85



       Signature                                           Date


(4) Mail Claim Form and Paperwork so that it is postmarked by
__________ to:

                                            Settlement Administrator
                                                  Epiq Global
                                          777 Third Avenue, 12th Floor
                                          New York, New York 10017

       For more information please view the Class Notice, call the Claims Administrator at   _
                                      or visit www.waterpumpsettlement.com
    Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 42 of 85




                    EXHIBIT 2

[[Proposed] FINAL ORDER & JUDGMENT to be finalized and submitted prior to and in
 connection with the Motion for Final Approval and/or at a time as ordered by the Court.]
Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 43 of 85




         EXHIBIT 3
Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 44 of 85




                EXHIBIT 3:

          [Proposed] PRELIMINARY
             APPROVAL ORDER
        Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 45 of 85



 1
 2
 3
 4
 5
 6

 7                                 UNITED STATES DISTRICT COURT

 8                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

 9

10
11   GREGORY COFFENG, MARK GLASER                      Case No. 17-cv-01825-JD
     and JORDAN WILSON, individually and on
12   behalf of all others similarly situated,          [Proposed] ORDER PRELIMINARILY
                                                       CERTIFYING SETTLEMENT CLASS,
13                                 Plaintiffs,         GRANTING PRELIMINARY APPROVAL
                                                       OF SETTLEMENT AND APPROVING
14                                   V.                CLASS NOTICE
15
16   VOLKSWAGEN GROUP OF AMERICA,
     INC.,
17
                                   Defendant.
18

19   1-1-------------------'
20
21
22
23
24

25
26
27
28

     [Proposed] ORDER PRELIMINARILY CERTIFYING SETTLEMENT CLASS, GRANTING PRELIMINARY APPROVAL OF
     SETTLEMENT AND APPROVING CLASS NOTICE
     Case No. 17-cv-01825-JD
         Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 46 of 85



 1           THIS MATTER having been opened to the Court by Plaintiffs' Unopposed Motion for

2    Preliminary Approval ("Motion for Preliminary Approval") of the proposed Settlement in the

 3   above Action;

4            WHEREAS, the Court having reviewed and considered the Motion for Preliminary

 5   Approval and supporting materials filed by Settlement Class Counsel; and

 6           WH EREAS, the Court held a hearing on the Motion for Preliminary Approval on

 7                     ;and

 8           WHEREAS, this Court has fully considered the record and the requirements of law; and

 9   good cause appearing;
10           IT IS THIS __ day of                      , 2018 ORDERED that the Settlement is hereby
11   PRELIMINARILY APPROVED. The Court further finds and orders as follows:
12           1.      The Court has subject matter jurisdiction under 28 U.S.C. § 1332(d), and venue is
13   proper in this district.
14           2.      The Court has personal jurisdiction over the Plaintiffs, Settlement Class Members,
15   and the Defendant.
16           3.      To the extent not otherwise defined herein, all defined terms in this Order shall
17   have the meaning assigned in the Settlement Agreement.
18           4.      The Settlement Agreement was the result of the Parties' good-faith negotiations.
19   The Settlement was entered into by experienced counsel and only after extensive arm's length
20   negotiations. The Settlement Agreement is not the result of collusion.
21           5.       The proceedings that occurred before the Parties reached a resolution of this matter
22   gave counsel opportunity to adequately assess this case's strengths and weaknesses and thus to
23   structure the Settlement Agreement in a way that adequately accounts for those strengths and
24   weaknesses.
25           6.       The Settlement is fair, reasonable and adequate, and has no obvious deficiencies
26   that would preclude preliminary approval.
27           7.       Because the Settlement meets the standards for preliminary approval, the Court
28   preliminarily approves all terms of the Settlement Agreement and all of its Exhibits.
     [Proposed] ORDER PRELIMINARILY CERTIFYING SETTLEMENT CLASS, GRANTING PRELIMINARY APPROVAL OF
     SETTLEMENT AND APPROVING CLASS NOTICE
     Case No. 17-cv-01825-JD
                                                      -2-
        Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 47 of 85



 1          8.      The Court preliminarily finds, for settlement purposes only, that all requirements of

 2   Fed. R. Civ. P. 23(a) and (b)(3) have been satisfied. The Court certifies a Settlement Class, as

 3   follows:

 4                  All persons or entities who purchased or leased a Settlement Class
                    Vehicle defined as certain 2008 through 2014 model and model year
 5                  VW and Audi vehicles, as more particularly designated by Vehicle
                    Identification Number ("VIN") listed on Exhibit 4 of the Settlement
 6                  Agreement, imported and distributed by Defendant Volkswagen
                    Group of America, Inc. for sale or lease in the United States and
 7                  Puerto Rico (hereinafter "the Settlement Class").
 8                  Excluded from the Settlement Class are (a) anyone claiming
                    personal injury, property damage and/or subrogation; (b) all Judges
 9                  who have presided over this matter and their spouses; ( c) all current
                    employees, officers, directors, agents and representatives of
10                  Defendants, and their family members; ( d) any affiliate, parent or
                    subsidiary of Defendants and any entity in which Defendants have a
11                  controlling interest; (e) anyone acting as a used car dealer; (f)
                    anyone who purchased a Settlement Class Vehicle for the purpose of
12                  commercial resale; (g) anyone who purchased a Settlement Class
                    Vehicle with salvaged title and/or any insurance company who
13                  acquired a Settlement Class Vehicle as a result of a total loss; (h)
                    any insurer of a Settlement Class Vehicle; (i) issuers of extended
14                  vehicle warranties and service contracts; G) any Settlement Class
                    Member who, prior to the date of the Settlement Agreement, settled
15                  with and released Defendants or any Released Parties from any
                    Released Claims, and (k) any Settlement Class Member that filed a
16                  timely and proper Request for Exclusion from the Settlement Class;
                    and (1) any claims involving personal injury.
17

18          9.      The Court conditionally certifies the proposed Settlement Class, and preliminarily

19   finds that the requirements of Rule 23(a) are satisfied, for settlement purposes only, as follows:

20                  (a) Pursuant to Fed. R. Civ. P. 23(a)(l), the members of the Settlement Class are so

21                      numerous that joinder of all members is impracticable.

22                  (b) Pursuant to Fed. R. Civ. P. 23(a)(2) and 23(c)(l)(B), the Court determines there

23                      are common issues of law and fact for the Settlement Class.

24                  (c) Pursuant to Fed. R. Civ. P. 23(a)(3), the claims of the Plaintiffs are typical of

25                      the claims of the Settlement Class that they represent, in that the Class

26                      Representatives allege they are purchasers of a Settlement Class Vehicle. The

27                      Court hereby appoints the following Plaintiffs as Class Representatives for the

28                      Settlement Class: Gregory Coffeng, Mark Glaser and Jordan Wilson.
     [Proposed] ORDER PRELIMINARILY CERTIFYING SETTLEMENT CLASS, GRANTING PRELIMINARY APPROVAL OF
     SETTLEMENT AND APPROVING CLASS NOTICE
     Case No. 17-cv-01825-JD
                                                      -3-
         Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 48 of 85



 1                  (d) Pursuant to Fed. R. Civ. P. 23(a)(4), the Class Representatives will fairly and
 2                        adequately protect and represent the interests of all members of the Settlement
 3                        Class and the interests of the Class Representatives are not antagonistic to those
 4                        of the Settlement Class. The Class Representatives are represented by counsel
 5                        who are experienced and competent in the prosecution of complex class action
 6                        litigation.
 7           10.    The Court further preliminarily finds that the requirements of Rule 23(b)(3) are
 8   satisfied, for settlement purposes only, as follows:
 9                  (a)       Questions of law and fact pertaining to the members of the Settlement
10          Class, as described above, predominate over questions that may affect only individual
11          members; and
12                  (b)       A class action is superior to all other available methods for the fair and
13          efficient adjudication of this controversy.
14           11.    The Court has reviewed and finds that the content of the proposed forms of Notice
15   attached as Exhibit 5 to the Settlement Agreement and the Claim Forms attached as Exhibit 1 to
16   the Settlement Agreement, which are to be displayed, along with the Settlement Agreement and its
17   Exhibits, on the Settlement website, satisfy the requirements of Fed. R. Civ. P. 23(c)(2), Fed. R.
18   Civ. P. 23(e)(l), and Due Process and accordingly approves the Notice and Claim Form.
19           12.    The Court further approves the proposed methods for giving notice of the
20   Settlement to the Members of the Settlement Class, as reflected in the Settlement Agreement. The
21   Court has reviewed the plan for distributing Notice to the Settlement Class ("Notice Plan"), and
22   finds that the Members of the Settlement Class will receive the best notice practicable under the
23   circumstances. The Court specifically approves the Parties' proposal that on an agreed upon date
24   with the Claim Administrator, but in no event more than seventy five (75) days after entry of the
25   Preliminary Approval Order, the Claim Administrator shall cause individual Class Notice,
26   substantially in the form attached to the Settlement Agreement as Exhibit 5, together with the
27   Claim Form, substantially in the form attached to the Settlement Agreement as Exhibit 1, to be
28   mailed, by first class mail, to the current or last known addresses of all reasonably identifiable
     [Proposed] ORDER PRELIMINARILY CERTIFYING SETTLEMENT CLASS, GRANTING PRELIMINARY APPROVAL OF
     SETTLEMENT AND APPROVING CLASS NOTICE
     Case No. 17-cv-01825-JD
                                                       -4-
        Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 49 of 85



 1   Settlement Class Members.      The Court specifically approves the procedures set forth in the
 2   Settlement Agreement for identifying Settlement Class Members and notifying Class Members
 3   whose initial mailings are returned undeliverable. The Court further approves payment of notice
 4   costs as provided in the Settlement Agreement. The Court finds that these procedures, carried out
 5   with reasonable diligence, will constitute the best notice practicable under the circumstances and
 6   will satisfy the requirements of Fed. R. Civ. P. 23(c)(2) and Fed. R. Civ. P. 23(e)(l) and Due
 7   Process.
 8          13.     The Court preliminarily finds that the following counsel will fairly and adequately
 9   represent the interests of the Settlement Class and hereby appoints Kantrowitz, Goldhamer &
10   Graifinan, P.C., and Thomas P. Sobran, P.C., as Lead Settlement Class Counsel, and Stull, Stull &
11   Brody as Settlement Class Liaison Counsel.
12           14.    The Court directs that pursuant to Fed. R. Civ. P. 23(e)(2), a Fairness Hearing will
13   be held on                                              [ at least 140 days from entry of Preliminary
14   Approval Order], to consider final approval of the Settlement (the "Fairness Hearing") including,
15   but not limited to, the following issues: (1) to determine whether to grant final approval to (a) the
16   terms of the Settlement Agreement, (b) certification of the Settlement Class, ( c) the designation of
17   Plaintiffs as representatives of the Settlement Class, and (d) the designation of Class Counsel as
18   counsel for the Settlement Class; (2) to rule on Class Counsel's request for an award of reasonable
19   attorneys' fees and reimbursement of costs and for Service Awards to Class Representatives; and
20   (3) to consider whether to enter the Final Approval Order.            The Fairness Hearing may be
21   adjourned by the Court and the Court may address matters set out above, including final approval
22   of the Settlement, without further notice to the Settlement Class other than notice that may be
23   posted at the Court and on the Court's and Claims Administrator's websites.
24           15.    The Court directs that no later than thirty (30) days after the Notice Date,
25   Settlement Class Counsel shall file all memoranda, including affidavits, declarations, and other
26   evidence in support of the request for approval of the Settlement; Class Counsel's request for
27   approval of reasonable attorneys' fees, costs, and reimbursement of expenses; and the request for
28   Service Awards to the individual named plaintiffs. The Court further directs that no later than five
     [Proposed] ORDER PRELIMINARILY CERTIFYING SETTLEMENT CLASS, GRANTING PRELIMINARY APPROVAL OF
     SETTLEMENT AND APPROVING CLASS NOTICE
     Case No. 17-cv-01825-JD
                                                      -5 -
        Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 50 of 85



 1   (5) days prior to the Final Fairness Hearing, Settlement Class Counsel shall file any supplemental

 2   memoranda addressing any objections and/or opt-outs. If Settlement Class Counsel and Defense

 3   Counsel do not reach agreement on reasonable attorney fees and costs/expenses, said counsel shall

 4   meet and confer to agree upon (a) a schedule for Defendants to file opposition to Settlement Class

 5   Counsel's motion for reasonable attorney fees and costs/expenses, which shall be at least sixty

 6   (60) days after the date of said meet and confer, (b) the time for Plaintiffs' reply thereto, and (c)

 7   whether the date of the Fairness Hearing needs to be changed.           Prior to the time in which

 8   Defendant must file opposition to Settlement Class Counsel's motion for reasonable attorney fees

 9   and costs/expenses, Defendant shall be afforded at least forty-five (45) days to respond to any

10   expert reports submitted by Class Counsel, and shall thereafter have a reasonable opportun ity to

11   depose such expert(s) prior to filing the opposition.

12           16.    Persons wishing to object to the proposed Settlement and/or be heard at the
13   Fairness hearing shall follow the following procedures:
14                          (a)      To object, a member of the Settlement Class, individually or through
15                  counsel, must file a written objection with the Clerk of this Court, and must also
16                  serve a copy thereof upon the following no later than forty-five (45) days after the
17                  Notice Date:
18                  Counsel for Plaintiffs
19                  Gary S. Graifman, Esq.
                    Kantrowitz, Goldhamer & Graifman, P.C.
20                  Suite 200
                    7 4 7 Chestnut Ridge Road
21                  Chestnut Ridge, NY 10977
22                  Counsel for Defendants
23                  Michael B. Gallub, Esq.
                    Herzfeld & Rubin, P.C.
24                  125 Broad Street
                    New York, NY 10004
25
26                          (b)      Any objecting Settlement Class Member must include with his or
27                  her objection:

28                         1.        the objector's full name, address, and telephone number;
     [Proposed] ORDER PRELIMINARILY CERTIFYING SETTLEMENT CLASS, GRANTING PRELIMINARY APPROVAL OF
     SETTLEMENT AND APPROVING CLASS NOTICE
     Case No. 17-cv-01825-JD
                                                      -6-
        Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 51 of 85



 1                         11.       the model, model year and Vehicle Identification Number of the
 2                 Settlement Class Vehicle, along with proof that the objector has owned or leased the
 3                 Settlement Class Vehicle (i.e., a true copy of a vehicle title, registration, or license
 4                 receipt);
 5                         111.      a written statement of all grounds for the objection accompanied by
 6                 any legal support for such objection;
 7                         lV.       copies of any papers, briefs, or other documents upon which the
 8                 objection is based and are pertinent to the objection; and
 9                         V.        any Settlement Class Member objecting to the Settlement shall
10                 provide a list of all other objections submitted by the objector, or the objector's
11                 counsel, to any class action settlements submitted in any court in the United States
12                 in the previous five years, including the full case name with jurisdiction in which it
13                 was filed and the docket number. If the Settlement Class Member or his, her or its
14                 counsel has not objected to any other class action settlement in the United States in
15                 the previous five years, he/she/it shall affirmatively so state in the objection.
16                             (c)   Subject to the approval of the Court, any objecting Settlement Class
17                  Member may appear, in person or by counsel, at the Final Fairness Hearing to
18                  explain why the proposed Settlement should not be approved as fair, reasonable,
19                  and adequate, or to object to any motion for Class Counsel Fees and Expenses or
20                  incentive awards. Any Settlement Class Member who does not provide a notice of
21                  intention to appear in accordance with the deadlines and other specifications set
22                  forth in the Notice, or who has not filed an objection in accordance with the
23                  deadlines and other specifications set forth in the Settlement Agreement and the
24                  Notice, may be deemed to have waived any objections to the Settlement and any
25                  adjudication or review of the Settlement, by appeal or otherwise.
26                             (d)   Any Class Member who does not make his, her, or its objection in
27                  the manner provided herein shall be deemed to have waived his, her, or its right to
28                  object to any aspect of the proposed Settlement and/or to Settlement Class
     [Proposed] ORDER PRELIMINARILY CERTIFYING SETTLEMENT CLASS, GRANTING PRELIMINARY APPROVAL OF
     SETTLEMENT AND APPROVING CLASS NOTICE
     Case No. 17-cv-01825-JD
                                                      -7-
        Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 52 of 85



 1                  Counsel's motion for reasonable attorneys' fees and reimbursement of litigation
 2                  expenses and for Service Awards to the Settlement Class Representatives. Such
 3                  Class Member shall forever be barred and foreclosed from objecting to the fairness,
 4                  reasonableness, or adequacy of the Settlement, or the requested attorneys' fees,
 5                  litigation expenses and Service Awards, and otherwise from being heard
 6                  concerning the Settlement, or the attorneys' fees and expenses request in this or any
 7                  other proceeding.
 8          17.     The Court appoints Epiq Global as the Settlement Administrator. The Parties are
 9   hereby authorized to retain the Settlement Administrator to supervise and administer the Notice
10   Procedure as well as the processing of Claims.
11          18.     All Settlement Class members shall have the right to opt out of the class at any time
12   during the opt-out period. The opt-out period shall run for forty-five (45) days following the
13   Notice Date. Any Settlement Class Member who timely elects to opt out of the Class (i) shall not
14   be bound by any orders or judgments entered in this Action; (ii) shall not be entitled to relief
15   under, or be affected by, the Settlement Agreement; (iii) shall not gain any rights by virtue of this
16   Settlement Agreement; and (iv) shall not be entitled to object to any aspect of this Settlement
17   Agreement.
18          19.     Any Settlement Class Member who wishes to opt out of the Class must do so by
19   mailing a request for exclusion ("Request for Exclusion") to the Claims Administrator as provided
20   in the Notice. The Request for Exclusion must be postmarked on or before the expiration of the
21   opt out deadline, which will be forty-five (45) days after the Notice Date. To be effective, the
22   Request for Exclusion must state specifically and unambiguously his or her desire to be excluded
23   from the Settlement Class. Any purported Requests for Exclusion will be reviewed jointly by
24   counsel for Plaintiffs and Defendant according to the procedures set forth in the Settlement
25   Agreement, which the Court approves.
26          20.     Any member of the Settlement Class failing to properly and timely mail such a
27   Request for Exclusion shall be automatically included in the Settlement Class and shall be bound
28   by all the terms and provisions of the Settlement Agreement and the Settlement, including the
     [Proposed] ORDER PRELIMINARILY CERTIFYING SETTLEMENT CLASS, GRANTING PRELIMINARY APPROVAL OF
     SETTLEMENT AND APPROVING CLASS NOTICE
     Case No. 17-cv-01825-JD
                                                      -8-
        Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 53 of 85



 1   release, and Order of Final Judgment. The Court shall resolve any disputes concerning the opt-out

 2   provisions of the Settlement Agreement.

 3          21.     Upon Final Approval, all Settlement Class Members who have not timely and
 4   properly opted out of the Settlement shall be deemed to have, and by operation of the Final Order

 5   and Judgment shall have, fully and completely released, acquitted and discharged all Released

 6   Parties from/for all Released Claims as set forth in the Settlement Agreement.

 7          22.     Upon Final Approval, with respect to the foregoing Released Claims, the Plaintiffs
 8   and Settlement Class Members expressly waive and relinquish, to the fullest extent permitted by
 9   law, the provisions, rights, and benefits of§ 1542 of the California Civil Code, which provides:
10   "A general release does not extend to claims which the creditor does not know or suspect to exist
11   in his favor at the time of executing the release, which if known by him must have materially
12   affected his settlement with the debtor."
13          23.     Upon Final Approval, this Action will be deemed dismissed with prejudice.
14          24.     In the event that the Settlement does not become effective for any reason, this
15   Preliminary Approval Order shall be rendered null and shall be vacated, and all orders entered and
16   releases delivered in connection herewith shall be null and void to the extent provided by and in
17   accordance with the Settlement Agreement. If the Settlement does not become effective, the
18   Defendant and any other Releasees shall have retained any and all of their current defenses and
19   arguments thereto (including but not limited to arguments that the requirements of Fed. R. Civ. P.
20   23(a) and (b )(3) are not satisfied for purposes of continued litigation). This action, and the Parties,
21   shall thereupon revert immediately to their respective procedural and substantive status prior to the
22   date of execution of the Settlement Agreement and shall proceed as if the Settlement Agreement
23   and all other related orders and papers had not been executed.
24          25.     Class Counsel and Defendant's Counsel are hereby authorized to use all reasonable
25   procedures in connection with approval and administration of the Class Action Settlement that are
26   not materially inconsistent with the Preliminary Approval Order or the Class Action Settlement,
27   including making, without further approval of the Court, minor changes to the Class Action
28
     [Proposed] ORDER PRELIMINARILY CERTIFYING SETTLEMENT CLASS, GRANTING PRELIMINARY APPROVAL OF
     SETTLEMENT AND APPROVING CLASS NOTICE
     Case No. 17-cv-01825-JD
                                                       -9-
        Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 54 of 85



 1   Settlement, to the form or content of the Class Notice, or to any other exhibits that the Parties

 2   jointly agree are reasonable or necessary.

 3           26.    The Court shall retain continuing jurisdiction over the Action, the Parties and the
 4   Settlement Class, and the administration, enforcement, and interpretation of the Settlement. Any
 5   disputes or controversies arising with respect to the Settlement shall be presented by motion to the
 6   Court, provided however, that nothing in this paragraph shall restrict the ability of the Parties to
 7   exercise their rights as described above.
 8

 9   Dated: --------
                                                          Honorable Jarnes Donato
10                                                        United States District Judge
11
12

13
14

15
16

17
18
19
20
21

22
23
24
25

26

27
28
     [Proposed] ORDER PRELIMINARILY CERTIFYING SETTLEMENT CLASS, GRANTING PRELIMINARY APPROVAL OF
     SETTLEMENT AND APPROVING CLASS NOTICE
     Case No. 17-cv-01825-JD
                                                     - 10 -
Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 55 of 85




         EXHIBIT4
Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 56 of 85




            EXHIBIT 4
            [Part 1 of 3]
Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 57 of 85




    Audi model/MY vehicles with 2.0L EA 888 engines:
    A3                        MY 2008-2013
    A4; A5                    MY 2009-2014
    Q5                        MY 2011-2014
    A6                        MY 2012-2014
    TT                        MY 2009-2014



    Volkswagen model/MY vehicles with 2.0L EA 888 engines:
    GTI; Jetta               MY 2008-2014
    EOS, CC (CCF), Tiguan    MY 2009-2014
    Passat                   MY 2008-2010
    Beetle                   MY 2012-2014
  Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 58 of 85




[REDACTED VERSION OF DOCUMENT SOUGHT TO
 BE SEALED - ENTIRE DOCUMENT SOUGHT TO BE
                   SEALED]




   AUDI VEHICLES




              EXHIBIT 4
              [Part 2 of 3]
  Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 59 of 85




[REDACTED VERSION OF DOCUMENT SOUGHT TO
 BE SEALED - ENTIRE DOCUMENT SOUGHT TO BE
                   SEALED]




     VOLKSWAGEN
       VEHICLES




              EXHIBIT 4
              [Part 3 of 3]
Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 60 of 85




         EXHIBIT 5
Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 61 of 85




                 CLASS NOTICE:

     VW SETTLEMENT VEHICLES
          Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 62 of 85



                                     CLASS NOTICE-VW

          A federal court authorized this notice. This is not a solicitation from a lawyer.

       UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
                               CALIFORNIA

If you now or used to own or lease certain Volkswagen vehicles equipped with a factory
installed primary engine water pump, you may be entitled to benefits afforded by a class
action settlement. This notice is being mailed to you because you have been identified as
owning or leasing a Settlement Class Vehicle.

•    This class action claimed that some primary engine water pumps in certain Volkswagen
     vehicles can fail. The class action, pending in the United States District Court for the
     Northern District of California, is entitled Coffeng, et al. v. Volkswagen Group of America,
     Inc., Civil Action No. 3:l 7-cv-01825-JD (the "Action" or "Lawsuit").

•    The parties have agreed to settle the Action. This Notice explains the Lawsuit, the
     Settlement, your legal rights, available benefits, who is eligible for them, and how to get
     them. As a Settlement Class Member, you have various options that you may exercise before
     the Court decides whether to approve the Settlement. Additional information is available
     online at www.waterpumpsettlement.com.

•    Your legal rights are affected whether you act or don't act. Read this Notice carefully.

•    The Court in charge of this case still has to decide whether to approve the Settlement.
     Payments will be made only if the Court approves the Settlement and after appeals, if any,
     are resolved.

                                       BASIC INFORMATION

1.      Introduction: Why you received this notice.

According to Volkswagen Group of America, Inc.'s ("VWGoA") records, you are a current or
past owner or lessee of a Volkswagen vehicle with a 2.0L EA888 engine including ("Settlement
Class Members") of the following model/model year:

        - certain 2008-2014 model year GTI*

        - certain 2008-2014 model year Jetta*

        - certain 2009-2014 model year EOS*

        - certain 2009-2014 model year CC (CCF) *

        - certain 2009-2014 model year Tiguan'



                                                  1
           Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 63 of 85



       -    certain 2008-2010 model year Passat *

       - certain 2012-2014 model year Beetle*
       *
         Subject to confirmation that your Vehicle Identification Number (VIN) is covered by the
       Settlement and that your vehicle is one of the Settlement Class Vehicles, which you can confirm
       on the Settlement website: www.waterpumpsettlement.com

(hereinafter, collectively, "Settlement Class Vehicles"). A class action lawsuit was filed
claiming that there was a defect that caused some primary engine water pumps ("water pump")
in the Settlement Class Vehicles to fail, sometimes requiring repair or replacement. Volkswagen
has denied the claims and maintains that the water pump functions in a proper manner.

The Lawsuit has been resolved through a Settlement under which the following benefits will be
provided:                                                                                  .,

       I. Warranty Extension for Current Owners or Lessees

Effective on the Notice Date, Volkswagen Group of America, Inc. will extend its New Vehicle
Limited Warranties applicable to the Settlement Class Vehicles to cover primary engine water
pump repairs or replacement, by an authorized Volkswagen ("VW") dealer, during a period of
ten (10) years or one hundred thousand (100,000) miles (whichever occurs first) from the In-
Service Date of the Settlement Class Vehicle. To have a repair or replacement done under the
Extended Warranty, the Settlement Class member must submit, to the dealer, Proof of Adherence
to the Vehicle's Maintenance Schedule which were relevant to the function of the coolant system
(including use of the specification of coolant fluid recommended by VW), within a variance of
ten percent (10%) of the scheduled time/mileage requirements. The Extended Warranty will
include the water pump and all parts and labor necessary to effectuate the repair. The Extended
Warranty is subject to the same terms and conditions set forth in the Settlement Class Vehicleis
New Vehicle Limited Warranty and Warranty Information Booklet. Repair or replacement
under the Extended warranty must be performed by an authorized VW dealer. The Extended
Warranty is fully transferable to subsequent owners.

The Extended Warranty will go into effect on the Notice Date. If the water pump fails more than
twenty (20) days after the Notice Date and within ten (10) years or one hundred thousand
(100,000) miles (whichever occurs first) from the In-Service Date of the Settlement Class
Vehicle, the Settlement Class Member must take the vehicle to an authorized VW dealer for
repair pursuant to the terms of the Extended Warranty.

       II. Reimbursement for Out-of-Pocket Expenses for Repair or Replacement of the
            Primary Engine Water Pump

Settlement Class Members will be entitled to reimbursement for unreimbursed out-of-pocket
expenses as follows:

        (1)   If the water pump was repaired or replaced at an authorized VW dealer within
eight (8) years or eighty thousand (80,000) miles (whichever occurs first) from the In-Service


                                                  2
          Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 64 of 85



 Date of the Settlement Class Vehicle, the Settlement Class Member shall receive a one-hundred
 percent (100%) refund of the paid dealer invoice amount for the covered part(s) and labor,
 limited to one repair per Settlement Class Vehicle.

         (2)     If the repair or replacement of the water pump by an authorized VW dealer was
 made after eight (8) years or eighty thousand (80,000) miles (whichever occurs first), but prior to
 ten (10) years or one hundred thousand (100,000) miles (whichever occurs first) from the In-
 Service Date of the Settlement Class Vehicle, the Settlement Class Member shall receive seventy
 percent (70%) of the paid dealer invoice amount for the covered part(s) and labor, limited to one
 repair per Settlement Class Vehicle.

        (3)    However, if the water pump was repaired or replaced at an independent service
 center and not an authorized VW dealer, the paid invoice amount, from which the Settlement
 Class Member shall receive a refund for the covered parts and labor, shall be limited to a
 maximum of $950.00.

 The above relief is subject to certain limitations and proof requirements which are set forth in the
 Settlement Agreement, which can be found on the Settlement website at
 www .waterpumpsettlement.com.

        III.    Reimbursement for Out-of-Pocket Expenses to Repair or Replace Damaged
                or Failed Engine Due to Primary Engine Water Pump Failure

 Settlement Class Members will be entitled to reimbursement for unreimbursed out-of-pocket
 expenses incurred to repair or replace a failed or damaged engine due to water pump failure,
 within ten (10) years or one hundred thousand (100,000) miles (whichever occurs first) from the
 In-Service Date of the Settlement Class Vehicle, as follows:

         (1)      If the Settlement Class Vehicle's engine was repaired or replaced at an authorized
 VW dealer, and the engine damage that required the repair/replacement was due to failure of the
 water pump, the Settlement Class Member may receive a refund of the paid invoice amount
 subject to the time/mileage parameters in Table 1, below.

        (2)    However, if the Settlement Class Vehicle's engine was repaired or replaced at an
 independent service center and not an authorized VW dealer, the maximum reimbursement
 amount is $4,000.00, subject to the time/mileage parameters in Table 1, below.



 TABLE 1:   PERCENTAGES OF REIMBURSEMENT FOR OUT-OF-POCKET
 EXPENSES INCURRED FOR DAMAGED OR FAILED ENGINE DUE TO PRIMARY
 ENGINE WATER PUMP FAILURE



I Time from In- I Less      than   I   50,001   to   I   60,001-    1   10,001-      1   so,001   to    1




                                                     3
            Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 65 of 85



Service Date     50,000 miles   60,000 miles       70,000 miles   80,000 miles   100,000 miles

4 years          100% (under    70%                50%            40%            25%
                 original
                 warranty)

4-5 years*       70%            50%                40%            30%            20%


5-6 years        50%            40%                35%            25%             15%


6-7 years        40%            30%                25%            20%             10%


7-8 years        30%            25%                20%            15%             10%


8-10 years       25%            20%                15%            10%            5%




* For VW Settlement Class Vehicles in which the written warranty is 5 years or 60,000 miles
(whichever occurs first) from the In-Service Date, the reimbursement percentage shall be one
hundred percent (100%) for unreimbursed out-of-pocket expenses incurred within the said 5
years or 60,000 miles (whichever occurs first) warranty period, but not exceeding the maximum
reimbursement amount of $4,000.00 if the repair/replacement was performed by an independent
service center and not an authorized VW dealer.

     IV. Limitations and Required Proof:

Limitations:

    a. Any reimbursement pursuant to this Settlement Agreement shall be reduced by goodwill
or other concession paid by an authorized VW Dealer or any other entity (including insurers and
providers of extended warranties or service contracts).

    b. VWGoA will only pay for labor and parts for one initial repair or replacement by an
independent service center that is not an authorized VW dealer. VWGoA will not be responsible
for, and shall not warrant repair or replacement work performed at an independent service center
that is not an authorized VW dealer.

    c. Any replacement engine will be subject to the warranty terms and conditions
accompanying that replacement engine. This Settlement does not modify the terms, conditions,
restrictions or limitations of that warranty.




                                               4
         Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 66 of 85



Required Proof:

    a. An original or legible copy of a repair invoice containing claimant's name, the make,
model and vehicle identification number (VIN) of the Settlement Class Vehicle, the name and
address of the authorized VW dealer or independent servicing center that performed the repair,
the date of repair, a description of the repair work performed including the parts
repaired/replaced and a breakdown of parts and labor costs, the vehicle's mileage at the time of
repair, and proof of the Settlement Class Member's payment of same. If reimbursement is
sought for a damaged or failed engine due to a failure of the water pump under the terms of this
Settlement, the Proof of Repair Expense must also show that the engine damage or failure that
required repair/replacement was due to a failure of the water pump.

    b. Documents evidencing the Settlement Class Member's adherence to the relevant aspects
of the Settlement Class Vehicle's maintenance schedule, set forth in the Warranty and
Maintenance Booklet for the vehicle which were relevant to the function of the coolant system
(including use of the coolant fluid recommended by VW), during the time he/she/it owned and/or
leased the vehicle, up to the date/mileage of repair or replacement, within a variance of ten
percent (10%) of the scheduled time/mileage requirements. In the event maintenance records
cannot be obtained despite a good faith effort to obtain them, the Settlement Class Member may
submit a Declaration under penalty of perjury detailing what efforts were made to obtain the
records, who he/she/it communicated with and when, why the records are not available and
attesting to adherence to the vehicle maintenance schedule, up to the date/mileage of
replacement/repair, within the ten percent (10%) variance set forth above. (hereinafter, "Proof of
Adherence with the Vehicle's Maintenance Schedule").

2.     Why is this a class action settlement?

In a class action lawsuit, one or more persons, called Class Representatives, sue on behalf of
other people who have similar claims. All of these people are Class Members. The Class
Representatives and all Settlement Class Members are called the Plaintiffs and the companies
they sued are called the Defendants. One court resolves the issues for all Settlement Class
Members, except for those who exclude themselves from the Class. U.S. District Judge James
Donato is in charge of this class action.

The Court has not decided in favor of Plaintiffs or Defendant. Instead, both sides agreed to a
Settlement with no decision or admission of who is right or wrong. That way, all parties avoid
the risks and cost of a trial, and the people affected (the Settlement Class Members) will get
compensation quickly. The Class Representatives and the attorneys think the Settlement is best
for the Settlement Class.

                         WHO IS PART OF THE SETTLEMENT?

3.     Am I in this Settlement Class?

Judge Donato conditionally approved the following definition of a Settlement Class Member:




                                                5
         Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 67 of 85



"All persons and entities who purchased or leased a Settlement Class Vehicle in the United
States of America and Puerto Rico."

Excluded from the Settlement Class are (a) anyone claiming personal injury, property damage
and/or subrogation; (b) all Judges who have presided over the Actions and their spouses; (c) all
current employees, officers, directors, agents and representatives of Defendant, and their family
members; ( d) any affiliate, parent or subsidiary of Defendant and any entity in which Defendant
have a controlling interest; (e) anyone acting as a used car dealer; (f) anyone who purchased a
Settlement Class Vehicle for the purpose of commercial resale; (g) anyone who purchased a
Settlement Class Vehicle with salvaged title and/or any insurance company who acquired a
Settlement Class Vehicle as a result of a total loss; (h) any insurer of a Settlement Class Vehicle;
(i) issuers of extended vehicle warranties and service contracts; G) any Settlement Class Member
who, prior to the date of this Agreement, settled with and released Defendant or any Released
Parties from any Released Claims, and (k) any Settlement Class Member that files a timely and
proper Request for Exclusion from the Settlement Class.

4.     I'm still not sure if I am included.

If you are still not sure whether you are included, you can get more information. You can call
_____ or visit www .waterpumpsettlement.com for more information. You can confirm
on this website whether your vehicle VIN number falls within the settlement class vehicles.

                      SETTLEMENT BENEFITS - WHAT YOU GET

5.     What does the Settlement provide?

The benefits afforded by the Settlement are described in paragraph 1. More details are provided
in the next three sections.

6.     How does the extended warranty work?

Beginning on                         _, VWGoA's New Vehicle Limited Warranty will be
extended for all Settlement Class Vehicles to cover repair or replacement of a failed water pump
by an authorized Volkswagen dealer if, at the time you bring your vehicle to the dealer for repair,
it is within ten (10) years or one hundred thousand (100,000) miles (whichever occurs first) from
the date the Settlement Class Vehicle was first placed into service. You must bring to the dealer
Proof of Adherence to the Vehicle's Maintenance Schedule. The rights and procedures generally
available under the New Vehicle Limited Warranty will apply to repairs during this extended
warranty period. The extended warranty is subject to the same terms and conditions of the New
Vehicle Limited Warranty.

7.     Who can send in a claim for cash payments?

Any United States or Puerto Rico resident who purchased or leased a Settlement Class Vehicle
can send in a claim for cash reimbursement for money spent prior to the date of this Notice as
described in paragraph "1 ".




                                                 6
         Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 68 of 85



8.     How do I send in a claim for a cash reimbursement?

To submit a claim for a cash reimbursement, you must do the following:

       By mail:

       (1)     Complete, sign, and date a Claim Form (there is one enclosed with these
               materials and you can also get one at www. www.waterpumpsettlement.com ).
               Keep a copy of the completed Claim Form; and

       (2)     Mail the Claim Form and your supporting documentation, such as repair
               record(s), receipts, proof of payment, and Proof of Adherence with the
               vehicle's maintenance schedule by first class mail postmarked no later than __
               --- to the address on the Claim Form. The information that must be reflected
               in your records can be found on the Claim Form. Keep a copy of your repair
               records.

       Online:

       (1)     Complete an online Claim Form and upload supporting documentation, such
               as repair record(s), receipts, proof of payment and Proof of Adherence with the
               vehicle's maintenance schedule at the Settlement website:
               www.waterpumpsettlement.com. Print a copy of the completed Claim Form.

If you fail to submit the Claim Form and supporting documents by the required deadline you will
not get paid.

9.     When do I get my reimbursement or learn whether I will receive a payment?

If the Claims Administrator determines your claim is valid, your reimbursement will be mailed
to you after the Settlement becomes final. The Court will hold a Fairness Hearing on         _,
to decide whether to approve the Settlement as fair, reasonable and adequate. Information about
the progress of the case will be available at: www.waterpumpsettlement.com.

If the Claims Administrator determines your claim should not be paid, you will be mailed a letter
telling you this. If the reason for rejecting your claim is due to a deficiency in your Claim Form
and/or supporting proof, the letter will notify you of the deficiency in your claim and what needs
to be submitted to correct the deficiency.

To check on the status of your claim, you can call                              _

10.    What am I giving up to get a cash reimbursement and stay in the Class?

Unless you exclude yourself, you are staying in the Class, and that means that you cannot sue,
continue to sue, or be part of any other lawsuit about the same matters and legal issues in this
case ( except for claims of personal injury or property damage) and any of the Released Claims
against the released Parties. It also means that all of the Court's orders will apply to you and
legally bind you.


                                                7
         Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 69 of 85



                EXCLUDING YOURSELF FROM THE SETTLEMENT

11.    How do I get out of this Settlement?

To exclude yourself from the Settlement, you must send a letter by U.S. mail postmarked no later
than                                       , stating that you want to be excluded from the
Settlement. Be sure to include your full name, address, telephone number, signature, model year
and VIN of your vehicle, and the approximate date(s) of purchase or lease. You must mail your
exclusion request postmarked no later than                    to:




                           SETTLEMENT ADMINISTRATOR

                                        Epiq Global
                                777 Third Avenue, 12th Floor
                                New York, New York 10017

                                        Class Counsel

                                     Gary G raifman, Esq.
                         Kantrowitz, Goldhamer & Graifman, P.C.
                                        Suite 200
                                74 7 Chestnut Ridge Road
                            Chestnut Ridge, New York 10977




                                        Defense Counsel

                                       Michael B. Gallub
                                   Herzfeld & Rubin, P.C.
                                      125 Broad Street
                                 New York, New York 10004


You cannot exclude yourself on the phone or by e-mail. If you submit your request to be
excluded by U.S. mail or express mail, you will not get any benefits of the Settlement and you
cannot object to the Settlement. You will not be legally bound by anything that happens in this
Lawsuit.

12.    If I don't exclude myself, can I sue later?

No, not for the same matters and legal claims at issue here, unless your claim is for personal
injury or property damage.


                                               8
         Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 70 of 85



13.     If I exclude myself can I get the benefits of this Settlement?

No, if you exclude yourself from the Settlement Class you won't get any money or benefits from
this Settlement, and you should not submit a Claim Form. You cannot do both.

14.    Do I have a lawyer in this case?

The Court has appointed the law firms of Kantrowitz, Goldhamer & Graifman, Thomas P.
Sobran,, Esq. and Stull, Stull & Brody as counsel for the Settlement Class. Together these law
firms are called "Class Counsel."

15~    Should I get my own lawyer?

You do not need to hire your own lawyer because Class Counsel is working on your behalf. But,
if you want your own lawyer, you may hire one at your own cost.

16.    How will the lawyers be paid, and will the Plaintiff Settlement Class Representatives
receive incentive awards?

Class Counsel have prosecuted this case on a contingency basis. They have not received any
fees or reimbursement for any of the costs and expenses associated with this case. Class Counsel
will request an award of reasonable attorney fees and reasonable costs and expenses ("Fees and
Expenses") from the Court in an amount not exceeding a combined total sum of$             . You
won't have to pay these Fees and Expenses. Any Fees and Expenses awarded to Class Counsel
will not affect your Settlement amount.

Class Counsel will also apply to the Court for incentive awards to the named Plaintiffs, who have
conditionally been approved as Settlement Class Representatives, in the amount of $            each
for their efforts in pursuing this litigation for the benefit of the Settlement Class. Any award for
Class Counsel Fees and Expenses and any incentive awards will be paid by Defendant and will
not reduce any benefits available to you under the Settlement.

Class Counsel's motion for fees and expenses and Settlement Class Representative incentive
awards will be filed by                      , and will be made available for review at
www.waterpumpsettlement.com.



                 SUPPORTING OR OBJECTING TO THE SETTLEMENT

17.    How do I tell the Court that I like or dislike the Settlement?

If you are a member of the Settlement Class and do not request to be excluded, you can tell the
Court you like the Settlement and it should be approved, or that you object to the Settlement or
Class Counsel's requests for fees and expenses and Settlement Class Representative incentive
award. You are not required to submit anything to the Court unless you are objecting or wish to
be excluded from the Settlement.


                                                 9
         Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 71 of 85



To object, you must, no later than---~ send a letter to the Court with copies to the Class
Counsel and defense counsel listed below, saying that you are objecting to the Settlement in
Coffeng v. Volkswagen Group of America, Inc., Civil Action No. 3:17-cv-01825-JD, and your
objection must include your full name, current address and telephone number, the model year
and VIN of your vehicle and proof that you own(ed) or lease(d) it, a statement of all your factual
and legal grounds for objecting, any documents and/or briefs supporting your objection, a
statement of whether you intend to appear at the Fairness Hearing, and your signature. Any
Settlement Class Member objecting to the Settlement must also provide a detailed list of any
other objections submitted by the objector, or the objector's counsel, to any class action
Settlements submitted in any court in the previous five (5) years, or affirmatively state that the
Settlement Class Member or his or her counsel has not objected to any other class action
Settlement in the previous five (5) years, in the written materials provided with the objection. If
you intend to appear at the Fairness Hearing through counsel, your comment must also state the
identity of all attorneys representing you who will appear at the Fairness Hearing. Be sure to
send your objection to the three different places set forth below such that it is postmarked no
later than __




Clerk of the Court,             Gary Graifman                          Michael B. Gallub
United States District Court    KANTROWITZ,                         HERZFELD & RUBIN, P.C.
for the Northern District of    GOLDHAMER&                              125 Broad Street
California                      GRAIFMAN, P.C.                        New York, NY 10004
450 Golden Gate Avenue          Suite 200,
San Francisco, CA 94102         74 7 Chestnut Ridge Road
                                Chestnut Ridge, New York
                                10977


The filing of an objection allows Class Counsel or Counsel for Defendant to notice such
objecting person for and take his or her deposition consistent with the Federal Rules of Civil
Procedure at an agreed-upon location before the Fairness Hearing, and to seek any documentary
evidence or other tangible things that are relevant to the objection. Failure by an objector to
comply with discovery requests may result in the Court striking said objector's objection and
otherwise denying that person the opportunity to make an objection or be further heard.

If you do not submit a written comment on or objection to the proposed Settlement or the
application of Class Counsel for incentive awards or attorney fees and expenses in accordance
with the deadline and procedure set forth above, you will waive your right to be heard at the
Fairness Hearing and to appeal from any order or judgment of the Court concerning the matter.

18.    What is the difference between objecting and excluding?

Objecting is simply telling the Court that you do not like something about the Settlement. You
can object only if you stay in the Settlement Class. Excluding yourself is telling the Court that


                                                10
          Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 72 of 85



you do not want to be part of the Settlement Class and the Settlement. If you exclude yourself,
you have no basis to object because the case no longer affects you.

                                     FAIRNESS HEARING

19.     When and where will the Court decide to approve the Settlement?

The Court will hold a Fairness Hearing at __a.m. on __, in Courtroom 11, 19th Floor,
United States District Court for the Northern District of California, 450 Golden Gate Avenue,
San Francisco, California 94102, to determine whether the Settlement should be finally
approved. At this Fairness Hearing the Court will consider whether the Settlement is fair,
reasonable and adequate. The Court may also consider Class Counsel's application for Fees and
Expenses and for incentive awards for the Settlement Class Representatives.

20.     Do I have to come to the Fairness Hearing?

No. Class Counsel will answer questions the Court may have. But, you are welcome to come at
your own expense provided you have not excluded yourself from the Settlement. If you send an
objection, you do not have to come to Court to talk about it. You may also pay your own lawyer
to attend, but it is not necessary.

21.     May I speak at the Fairness Hearing?

If you do not exclude yourself, you may ask the Court's permission to speak at the Fairness
Hearing concerning the proposed Settlement or the application of Class Counsel for attorneys'
Fees and Expenses and Settlement Class Representative incentive awards. To do so, you must
send a letter notice saying that it is your intention to appear at the Fairness Hearing in Cojfeng v.
Volkswagen Group ofAmerica, Inc., Civil Action No. 3:17-cv-01825-JD. The letter notice must
state the position you intend to present at the Fairness Hearing, state the identities of all attorneys
who will represent you (if any), and must include your full name, current address, telephone
number, model year and VIN of your vehicle(s), and your signature. You must send your letter
notice to the Clerk of the Court, Class Counsel, and defense counsel at the three addresses listed
under question 17 above, such that it is postmarked no later than __ . You may combine this
notice and your comment (described under question 17) in a single letter. You cannot speak at
the Fairness Hearing if you excluded yourself from the Settlement.

                                     IF YOU DO NOTHING

22.    What happens if I do nothing at all?

If you do nothing, you will be bound by the Settlement if the Court approves it.

                                ADDITIONAL INFORMATION

23.     Visit the website at www.waterpumpsettlement, where you can submit a claim online,
find extra claim forms and more information on this litigation and Settlement. Updates




                                                  11
         Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 73 of 85



regarding the case will be available on the website. You may also call the Claims Administrator
at            _




                                              12
Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 74 of 85




                 CLASS NOTICE:

   AUDI SETTLEMENT VEHICLES
           Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 75 of 85



                                     CLASS NOTICE - AUDI

          A federal court authorized this notice. This is not a solicitation from a lawyer.

        UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
                                CALIFORNIA

If you now or used to own or lease certain Audi vehicles equipped with a factory installed
primary engine water pump, you may be entitled to benefits afforded by a class action
settlement. This notice is being mailed to you because you have been identified as owning
or leasing a Settlement Class Vehicle.

•     This class action claimed that some primary engine water pumps in certain Audi vehicles can
      fail. The class action, pending in the United States District Court for the Northern District of
      California, is entitled Cojfeng, et al v. Volkswagen Group ofAmerica, Inc., Civil Action No.
      3:17-cv-01825-JD (the "Action" or "Lawsuit").

•      The parties have agreed to settle the Action. This Notice explains the Lawsuit, the
       Settlement, your legal rights, available benefits, who is eligible for them, and how to get
       them. As a Settlement Class Member, you have various options that you may exercise before
       the Court decides whether to approve the Settlement. Additional information is available
     ' online at www.waterpurnpsettlement.com

•     Your legal rights are affected whether you act or don't act. Read this Notice carefully.

•     The Court in charge of this case still has to decide whether to approve the Settlement.
      Payments will be made only if the Court approves the Settlement and after appeals, if any,
      are resolved.

                                        BASIC INFORMATION

1.       Introduction: Why you received this notice.

According to Volkswagen Group of America, Inc.'s ("VWGoA") records, you are a current or
past owner or lessee of an Audi vehicle with a 2.0L EA888 engine including ("Settlement Class
Members") of the following model/model year:

         - certain 2008-2013 model year A3 *

         - certain 2009-2014 model year A4*

         - certain 2009-2014 model year A5*

         - certain 2011-2014 model year Q5*

         - certain 2012-2014 model year A6*



                                                   1
            Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 76 of 85



       -     certain 2009-2014 model year TT*
       *
         Subject to confirmation that your Vehicle Identification Number (VIN) is covered by the
       Settlement and that your vehicle is one of the Settlement Class Vehicles, which you can confirm
       on the Settlement website: www.waterpumpsettlement.com

(hereinafter, collectively, "Settlement Class Vehicles"). A class action lawsuit was filed
claiming that there was a defect that caused some primary engine water pumps ("water pump")
in the Settlement Class Vehicles to fail, sometimes requiring repair or replacement. Volkswagen
has denied the claims and maintains that the water pump functions in a proper manner.

The Lawsuit has been resolved through a Settlement under which the following benefits will be
provided:

       I.    Warranty Extension for Current Owners or Lessees

Effective on the Notice Date, Volkswagen Group of America, Inc. will extend its New Vehicle
Limited Warranties applicable to the Settlement Class Vehicles to cover primary engine water
pump repairs or replacement, by an authorized Audi dealer, during a period of ten (10) years or
one hundred thousand (100,000) miles (whichever occurs first) from the In-Service Date of the
Settlement Class Vehicle. To have a repair or replacement done under the Extended Warranty,
the Settlement Class member must submit, to the dealer, Proof of Adherence to the Vehicle's
Maintenance Schedule which were relevant to the function of the coolant system (including use
of the specification of coolant fluid recommended by VW), within a variance of ten percent
(10%) of the scheduled time/mileage requirements. The Extended Warranty will include the
water pump and all parts and labor necessary to effectuate the repair. The Extended Warranty is
subject to the same terms and conditions set forth in the Settlement Class Vehicle's New Vehicle
Limited Warranty and Warranty Information Booklet. Repair or replacement under the
Extended warranty must be performed by an authorized Audi dealer. The Extended Warranty is
fully transferable to subsequent owners.

The Extended Warranty will go into effect on the Notice Date. If the water pump fails more than
twenty (20) days after the Notice Date and within ten (10) years or one hundred thousand
(100,000) miles (whichever occurs first) from the In-Service Date of the Settlement Class
Vehicle, the Settlement Class Member must take the vehicle to an authorized Audi dealer for
repair pursuant to the terms of the Extended Warranty.

       II. Reimbursement for Out-of-Pocket Expenses for Repair or Replacement of the
             Primary Engine Water Pump

Settlement Class Members will be entitled to reimbursement for unreimbursed out-of-pocket
expenses as follows:

        (1)   If the water pump was repaired or replaced at an authorized Audi dealer within
eight (8) years or eighty thousand (80,000) miles (whichever occurs first) from the In-Service
Date of the Settlement Class Vehicle, the Settlement Class Member shall receive a one-hundred



                                                   2
         Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 77 of 85



percent (100%) refund of the paid dealer invoice amount for the covered part(s) and labor,
limited to one repair per Settlement Class Vehicle.

        (2)     If the repair or replacement of the water pump by an authorized Audi dealer was
made after eight (8) years or eighty thousand (80,000) miles (whichever occurs first), but prior to
ten (10) years or one hundred thousand (100,000) miles (whichever occurs first) from the In-
Service Date of the Settlement Class Vehicle, the Settlement Class Member shall receive seventy
percent (70%) of the paid dealer invoice amount for the covered part(s) and labor, limited to one
repair per Settlement Class Vehicle.

       (3)    However, if the water pump was repaired or replaced at an independent service
center and not an authorized Audi dealer, the paid invoice amount, from which the Settlement
Class Member shall receive a refund for the covered parts and labor, shall be limited to a
maximum of $950.00.

The above relief is subject to certain limitations and proof requirements which are set forth in the
Settlement Agreement, which can be found on the Settlement website at
www.waterpumpsettlement.com.

       III.    Reimbursement for Out-of-Pocket Expenses to Repair or Replace Damaged
               or Failed Engine Due to Primary Engine Water Pump Failure

Settlement Class Members will be entitled to reimbursement for unreimbursed out-of-pocket
expenses incurred to repair or replace a failed or damaged engine due to water pump failure,
within ten (10) years or one hundred thousand (100,000) miles (whichever occurs first) from the
In-Service Date of the Settlement Class Vehicle, as follows:

        (1)     If the Settlement Class Vehicle's engine was repaired or replaced at an authorized
Audi dealer, and the engine damage that required the repair/replacement was due to failure of the
water pump, the Settlement Class Member may receive a refund of the paid invoice amount
subject to the time/mileage parameters in Table 1, below.

       (2)    However, if the Settlement Class Vehicle's engine was repaired or replaced at an
independent service center and not an authorized Audi dealer, the maximum reimbursement
amount is $4,000.00, subject to the time/mileage parameters in Table 1, below.



TABLE 1:   PERCENTAGES OF REIMBURSEMENT FOR OUT-OF-POCKET
EXPENSES INCURRED FOR DAMAGED OR FAILED ENGINE DUE TO PRIMARY
ENGINE WATER PUMP FAILURE



Time from In- Less     than 50,001     to 60,001-                   70,001-          80,001     to
Service Date  50,000 miles  60,000 miles  70,000 miles              80,000 miles     100,000 miles




                                                 3
            Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 78 of 85



4 years          100% (under    70%                50%           40%             25%
                 original
                 warranty)

4-5 years        70%            50%                40%           30%             20%


5-6 years        50%            40%                35%           25%             15%


6-7 years        40%            30%                25%           20%             10%


7-8 years        30%            25%                20%           15%             10%


8-10 years       25%            20%                15%           10%             5%




     IV. Limitations and Required Proof:

Limitations:

    a. Any reimbursement pursuant to this Settlement Agreement shall be reduced by goodwill
or other concession paid by an authorized Audi Dealer or any other entity for the repair or
replacement (including insurers and providers of extended warranties or service contracts).

    b. VWGoA will only pay for labor and parts for one initial repair or replacement by an
independent service center that is not an authorized Audi dealer. VWGoA will not be
responsible for, and shall not warrant repair or replacement work performed at an independent
service center that is not an authorized Audi dealer.

    c. Any replacement engine will be subject to the warranty terms and conditions
accompanying that replacement engine. This Settlement does not modify the terms, conditions,
restrictions or limitations of that warranty.

Required Proof:

    a. An original or legible copy of a repair invoice containing claimant's name, the make,
model and vehicle identification number (VIN) of the Settlement Class Vehicle, the name and
address of the authorized Audi dealer or independent servicing center that performed the repair,
the date of repair, a description of the repair work performed including the parts
repaired/replaced and a breakdown of parts and labor costs, the vehicle's mileage at the time of
repair, and proof of the Settlement Class Member's payment of same. If reimbursement is
sought for a damaged or failed engine due to a failure of the water pump under the terms of this


                                               4
         Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 79 of 85



Settlement, the Proof of Repair Expense must also show that the engine dam age or failure that
required repair/replacement was due to a failure of the water pump.

    b. Docum ents evidencing the Settlement Class Member's adherence to the relevant aspects
of the Settlement Class Vehicle's maintenance schedule, set forth in the Warranty and
Maintenance Booklet for the vehicle which were relevant to the fun ction of the coolant system
(including use of the coolant fluid recomm ended by Audi), during the time he/she/it own ed
and/or leased the vehicle, up to the date/mileage of repair or replacement, within a variance of
ten percent (10%) of the scheduled time/mileage requirements. In the event maintenance records
cann ot be obtained despite a good faith effort to obtain them, the Settlement Class Member may
submit a Declaration under penalty of perjury detailing what efforts were made to obtain the
records, who he/she/it comm unicated with and when, why the records are not available and
attesting to adherence to the vehicle maintenance schedule, up to the date/mileage of
replacement/repair, within the ten percent (10%) variance set forth above. (hereinafter, "Proof of
Adherence to the Vehicle's Maintenance Schedule").

2.     Why is this a class action settlement?

In a class action lawsuit, one or more persons, called Class Representatives, sue on behalf
of other people who have similar claims. All of these people are Class Members. The Class
Representatives and all Settlement Class Members are called the Plaintiffs and the companies
they sued are called the Defendants. One court resolves the issues for all Settlement Class
Members, except for those who exclude themselves from the Class. U.S. District Judge James
Donato is in charge of this class action.

The Court has not decided in favor of Plaintiffs or Defendant. Instead, both sides agreed to a
Settlement with no decision or admission of who is right or wrong. That way, all parties avoid
the risks and cost of a trial, and the people affected (the Settlement Class Members) will get
compensation quickly. The Class Representatives and the attorneys think the Settlement is best
for the Settlement Class.

                         WHO IS PART OF THE SETTLEMENT?

3.     Am I in this Settlement Class?

Judge Donato conditionally approved the following definition of a Settlement Class Member:

"All persons and entities who purchased or leased a Settlement Class Vehicle in the United
States of America and Puerto Rico."

Excluded from the Settlement Class are (a) anyone claiming personal injury, property damage
and/or subrogation; (b) all Judges who have presided over the Actions and their spouses; (c) all
current employees, officers, directors, agents and representatives of Defendant, and their family
members; ( d) any affiliate, parent or subsidiary of Defendant and any entity in which Defendant
have a controlling interest; (e) anyone acting as a used car dealer; (f) anyone who purchased a
Settlement Class Vehicle for the purpose of commercial resale; (g) anyone who purchased a
Settlement Class Vehicle with salvaged title and/or any insurance company who acquired a


                                                5
         Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 80 of 85



Settlement Class Vehicle as a result of a total loss; (h) any insurer of a Settlement Class Vehicle;
(i) issuers of extended vehicle warranties and service contracts; G) any Settlement Class Member
who, prior to the date of this Agreement, settled with and released Defendant or any Released
Parties from any Released Claims, and (k) any Settlement Class Member that files a timely and
proper Request for Exclusion from the Settlement Class.

4.     I'm still not sure if I am included.

If you are still not sure whether you are included, you can get more information. You can call
_____ or visit www .waterpumpsettlement.com for more information. You can confirm
on this website whether your vehicle's VIN number falls within the settlement class vehicles.

                     SETTLEMENT BENEFITS - WHAT YOU GET

5.     What does the Settlement provide?

The benefits afforded by the Settlement are described in paragraph 1. More details are provided
in the next three sections.

6.     How does the extended warranty work?

Beginning on                      _, VWGoA's New Vehicle Limited Warranty will be
extended for all Settlement Class Vehicles to cover repair or replacement of a failed water pump
by an authorized Audi dealer if, at the time you bring your vehicle to the dealer for repair, it is
within ten (10) years or one hundred thousand (100,000) miles (whichever occurs first) from the
date the Settlement Class Vehicle was first placed into service. You must bring to the dealer
Proof of Adherence to the Vehicle's Maintenance Schedule. The rights and procedures generally
available under the New Vehicle Limited Warranty will apply to repairs during this extended
warranty period. The extended warranty is subject to the same terms and conditions of the New
Vehicle Limited Warranty.

7.     Who can send in a claim for cash payments?

Any United States or Puerto Rico resident who purchased or leased a Settlement Class Vehicle
can send in a claim for cash reimbursement for money spent prior to the date of this Notice as
described in paragraph "1 ".

8.     How do I send in a claim for a cash reimbursement?

To submit a claim for a cash reimbursement, you must do the following:

       By mail:

       (1)     Complete, sign, and date a Claim Form (there is one enclosed with these
               materials and you can also get one at www . www .waterpumpsettlement.com ).
               Keep a copy of the completed Claim Form; and




                                                 6
         Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 81 of 85



       (2)    · Mail the Claim Form and your supporting documentation, such as repair
               record(s), receipts, proof of payment, and Proof of Adherence with the vehicle's
               maintenance schedule by first class mail postmarked no later than        to the
               address on the Claim Form. The information that must be reflected in your
               records can be found on the Claim Form. Keep a copy of your repair records.

       Online:

       (1)     Complete an online Claim Form and upload supporting documentation, such
               as repair record( s), receipts, proof of payment and Proof of Adherence with the
               vehicle's maintenance schedule at the Settlement website:
               www.waterpumpsettlement.com. Print a copy of the completed Claim Form.

If you fail to submit the Claim Form and supporting documents by the required deadline you will
not get paid.

9.     When do I get my reimbursement or learn whether I will receive a payment?

If the Claims Administrator determines your claim is valid, your reimbursement will be mailed
to you after the Settlement becomes final. The Court will hold a Fairness Hearing on         _,
to decide whether to approve the Settlement as fair, reasonable and adequate. Information about
the progress of the case will be available at: www.waterpumpsettlement.com.

If the Claims Administrator determines your claim should not be paid, you will be mailed a letter
telling you this. If the reason for rejecting your claim is due to a deficiency in your Claim Form
and/or supporting proof, the letter will notify you of the deficiency in your claim and what needs
to be submitted to correct the deficiency.

To check on the status of your claim, you can call                             _

10.    What am I giving up to get a cash reimbursement and stay in the Class?

Unless you exclude yourself, you are staying in the Class, and that means that you cannot sue,
continue to sue, or be part of any other lawsuit about the same matters and legal issues in this
case (except for claims of personal injury or property damage) and any of the Released Claims
against the released Parties. It also means that all of the Court's orders will apply to you and
legally bind you.

                 EXCLUDING YOURSELF FROM THE SETTLEMENT

11.    How do I get out of this Settlement?

To exclude yourself from the Settlement, you must send a letter by U.S. mail postmarked no later
than                                       , stating that you want to be excluded from the
Settlement. Be sure to include your full name, address, telephone number, signature, model year
and VIN of your vehicle, and the approximate date(s) of purchase or lease. You must mail your
exclusion request postmarked no later than                    to:



                                                7
         Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 82 of 85




                           SETTLEMENT ADMINISTRA TOR

                                        Epiq Global
                                                    th
                                777 Third Avenue, 12 Floor
                                New York, New York 10017

                                        Class Counsel

                                     Gary G raifman, Esq.
                         Kantrowitz, Goldhamer & Graifman, P.C.
                                        Suite 200
                                747 Chestnut Ridge Road
                            Chestnut Ridge, New York 10977



                                       Defense Counsel

                                     Michael B. Gallub
                                   Herzfeld & Rubin, P.C.
                                      125 Broad Street
                                 New York, New York 10004


You cannot exclude yourself on the phone or by e-mail. If you submit your request to be
excluded by U.S. mail or express mail, you will not get any benefits of the Settlement and you
cannot object to the Settlement. You will not be legally bound by anything that happens in
this Lawsuit.

12.    If I don't exclude myself, can I sue later?

No, not for the same matters and legal claims at issue here, unless your claim is for personal
injury or property damage.

13.    If I exclude myself can I get the benefits of this Settlement?

No, if you exclude yourself from the Settlement Class you won't get any money or benefits from
this Settlement, and you should not submit a Claim Form. You cannot do both.

14.    Do I have a lawyer in this case?

The Court has appointed the law firms of Kantrowitz, Goldhamer & Graifman, Thomas P.
Sobran,, Esq. and Stull, Stull & Brody as counsel for the Settlement Class. Together these law
firms are called "Class Counsel."



                                               8
         Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 83 of 85



15.     Should I get my own lawyer?

You do not need to hire your own lawyer because Class Counsel is working on your behalf. But,
if you want your own lawyer, you may hire one at your own cost.

16.    How will the lawyers be paid, and will the Plaintiff Settlement Class Representatives
receive incentive awards?

Class Counsel have prosecuted this case on a contingency basis. They have not received any
fees or reimbursement for any of the costs and expenses associated with this case. Class Counsel
will request an award of reasonable attorney fees and reasonable costs and expenses ("Fees and
Expenses") from the Court in an amount not exceeding a combined total sum of$             . You
won't have to pay these Fees and Expenses. Any Fees and Expenses awarded to Class Counsel
will not affect your Settlement amount.

Class Counsel will also apply to the Court for incentive awards to the named Plaintiffs, who have
conditionally been approved as Settlement Class Representatives, in the amount of$             each
for their efforts in pursuing this litigation for the benefit of the Settlement Class. Any award for
Class Counsel Fees and Expenses and any incentive awards will be paid by Defendant and will
not reduce any benefits available to you under the Settlement.

Class Counsel's motion for fees and expenses and Settlement Class Representative incentive
awards will be filed by                      ., and will be made available for review at
www .waterpumpsettlement.com.




                 SUPPORTING OR OBJECTING TO THE SETTLEMENT

17.    How do I tell the Court that I like or dislike the Settlement?

If you are a member of the Settlement Class and do not request to be excluded, you can tell the
Court you like the Settlement and it should be approved, or that you object to the Settlement or
Class Counsel's requests for fees and expenses and Settlement Class Representative incentive
award. You are not required to submit anything to the Court unless you are objecting or wish to
be excluded from the Settlement.

To object, you must, no later than        _, send a letter to the Court with copies to the Class
Counsel and defense counsel listed below, saying that you are objecting to the Settlement in
Coffeng v. Volkswagen Group of America, Inc., Civil Action No. 3:17-cv-01825-JD, and your
objection must include your full name, current address and telephone number, the model year
and VIN of your vehicle and proof that you own( ed) or lease( d) it, a statement of all your factual
and legal grounds for objecting, any documents and/or briefs supporting your objection, a
statement of whether you intend to appear at the Fairness Hearing, and your signature. Any
Settlement Class Member objecting to the Settlement must also provide a detailed list of any
other objections submitted by the objector, or the objector's counsel, to any class action
Settlements submitted in any court in the previous five (5) years, or affirmatively state that the


                                                 9
         Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 84 of 85



Settlement Class Member or his or her counsel has not objected to any other class action
Settlement in the previous five (5) years, in the written materials provided with the objection. If
you intend to appear at the Fairness Hearing through counsel, your comment must also state the
identity of all attorneys representing you who will appear at the Fairness Hearing. Be sure to
send your objection to the three different places set forth below such that it is postmarked no
later than __




Clerk of the Court,             Gary Graifman                         Michael B. Gallub
United States District          KANTROWITZ,                        HERZFELD & RUBIN, P.C.
Court                           GOLDHAMER&                             125 Broad Street
for the Northern District of    GRAIFMAN,P.C.                        New York, NY 10004
California                      Suite 200
450 Golden Gate Avenue          747 Chestnut Ridge Road
San Francisco, CA 94102         Chestnut Ridge, New York
                                10977

The filing of an objection allows Class Counsel or Counsel for Defendant to notice such
objecting person for and take his or her deposition consistent with the Federal Rules of Civil
Procedure at an agreed-upon location before the Fairness Hearing, and to seek any documentary
evidence or other tangible things that are relevant to the objection. Failure by an objector to
comply with discovery requests may result in the Court striking said objector's objection and
otherwise denying that person the opportunity to make an objection or be further heard.

If you do not submit a written comment on or objection to the proposed Settlement or the
application of Class Counsel for incentive awards or attorney fees and expenses in accordance
with the deadline and procedure set forth above, you will waive your right to be heard at the
Fairness Hearing and to appeal from any order or judgment of the Court concerning the matter.

18.    What is the difference between objecting and excluding?

Objecting is simply telling the Court that you do not like something about the Settlement. You
can object only if you stay in the Settlement Class. Excluding yourself is telling the Court that
you do not want to be part of the Settlement Class and the Settlement. If you exclude yourself,
you have no basis to object because the case no longer affects you.

                                    FAIRNESS HEARING

19.    When and where will the Court decide to approve the Settlement?

The Court will hold a Fairness Hearing at __a.m. on __ , in Courtroom 11, 19th Floor,
United States District Court for the Northern District of California, 450 Golden Gate Avenue,
San Francisco, California 94102, to determine whether the Settlement should be finally
approved. At this Fairness Hearing the Court will consider whether the Settlement is fair,


                                                10
          Case 3:17-cv-01825-JD Document 65-2 Filed 09/11/18 Page 85 of 85



reasonable and adequate. The Court may also consider Class Counsel's application for Fees and
Expenses and for incentive awards for the Settlement Class Representatives.

20.    Do I have to come to the Fairness Hearing?

No. Class Counsel will answer questions the Court may have. But, you are welcome to come at
your own expense provided you have not excluded yourself from the Settlement. If you send an
objection, you do not have to come to Court to talk about it. You may also pay your own lawyer
to attend, but it is not necessary.

21.    May I speak at the Fairness Hearing?

If you do not exclude yourself, you may ask the Court's permission to speak at the Fairness
Hearing concerning the proposed Settlement or the application of Class Counsel for attorneys'
Fees and Expenses and Settlement Class Representative incentive awards. To do so, you must
send a letter notice saying that it is your intention to appear at the Fairness Hearing in Cojfeng v.
Volkswagen Group ofAmerica, Inc., Civil Action No. 3:17-cv-01825-JD. The letter notice must
state the position you intend to present at the Fairness Hearing, state the identities of all attorneys
who will represent you (if any), and must include your full name, current address, telephone
number, model year and VIN of your vehicle(s), and your signature. You must send your letter
notice to the Clerk of the Court, Class Counsel, and defense counsel at the three addresses listed
under question 17 above, such that it is postmarked no later than _. You may combine this
notice and your comment ( described under question 17) in a single letter. You cannot speak at
the Fairness Hearing if you excluded yourself from the Settlement.

                                     IF YOU DO NOTHING

22.    What happens if I do nothing at all?

If you do nothing, you will be bound by the Settlement if the Court approves it.

                                ADDITIONAL INFORMATION

23.     Visit the website at www.waterpumpsettlement.com, where you can submit a claim
online, find extra claim forms and more information on this litigation and Settlement. Updates
regarding the case will be available on the website. You may also call the Claims Administrator
at             _




                                                  11
